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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 1:20-cv-1873

   JULIE ADAMS CURTIS,

                Plaintiff,

   v.

   LEVER UP INC.,
   PAKEMS LLC,
   CHASEFIELD CAPITAL INC.,
   CHASEFIELD REAL ESTATE, LLC,
   SCB GLOBAL CAPITAL MANAGEMENT, LLC,
   BOCCUS GROUP LLC,
   HAROLD PINE,
   WALTER VAN WOUDENBERG,
   RUSS MATTHEWS,
   JORDAN PINE,
   KELLIE BEIERS,
   SETH EVERSON, and
   JOHN DOES 1 – 10,

                Defendants.


                              COMPLAINT AND JURY DEMAND


         Plaintiff Julie Adams Curtis (“Curtis”), for her Complaint against Defendants Lever

   Up Inc. (“Lever Up”), Pakems, LLC (“Pakems”), Chasefield Capital Inc. (“Chasefield

   Capital”), Chasefield Real Estate, LLC (“Chasefield Real Estate”), SCB Global Capital

   Management, LLC (“SCB Global”), Boccus Group LLC (“Boccus Group”), Harold Pine

   (“Pine”), Walter van Woudenberg (“van Woudenberg”), Russ Matthews (“Matthews”),

   Jordan Pine, Kellie Beiers (“Beiers”), Seth Everson (“Everson”), and John Does 1 – 10,

   alleges on her own knowledge and on information and belief as follows:
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                               I.     NATURE OF THE CASE

         1.     This is a case involving the founder and minority shareholder of Lever Up

   who was discriminated against, severely harassed because of her gender, and retaliated

   against during her employment and then ultimately, she was unlawfully terminated from

   the company she founded. Plaintiff complained about the abusive conduct to no avail.

   The hostile work environment and her termination was extreme and outrageous and

   caused her severe emotional distress.

         2.     Defendants van Woudenberg, Pine, and Matthews breached their duty of

   loyalty owed to Lever Up.

         3.     Defendants van Woudenberg, Pine, and Matthews intentionally interfered

   with prospective business advantages when they made the decision to terminate Curtis.

         4.     After Curtis was wrongfully terminated, she discovered that prior to the

   purchase of Pakems Inc., during her employment, and after her termination, her personal

   accounts were accessed (including her personal email accounts and iCloud account), her

   emails were being monitored, her emails were being intercepted, and her personal

   computers were remotely hacked into so that Defendants could, including but not limited

   to, access documents, photos, videos, iMessages, text messages, secretly watch her

   through the camera of her personal computer as well as listen to her all while in her own

   residence. The foregoing actions were intentional, methodical, persistent and a clear

   invasion of her privacy. Defendants Pine, van Woudenberg, Everson, Matthews, Beiers,

   Jordan Pine and John Does 1 – 10 conspired to commit these unlawful acts against

   Curtis. This conduct is referred to as “Computer-Related Conduct.”




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          5.      Defendants Pine, van Woudenberg, Matthews, Jordan Pine, Everson,

   Beiers, and John Does 1 - 10 conspired to unlawfully terminate Curtis.

          6.      Defendant Pine intentionally interfered with Curtis’ employment contract.

          7.      Defendants van Woudenberg, Matthews and Pine terminated Curtis in

   violation of public policy.

          8.      Defendants van Woudenberg, Matthews and Pine breached the covenant

   of good faith and fair dealing by not exercising the option to purchase Curtis’ shares in

   the company and forcing Curtis to remain partners with individuals that have committed

   unlawful acts against her.

          9.      Defendant van Woudenberg broke his promises to Curtis that he would not

   terminate her without financially compensating her and would allow Curtis time to find a

   more suitable partner.

          10.     Defendant Pine, both in writing and verbally, constantly made statements

   to others about Curtis that were false and that he knew were false.

          11.     Defendants Pine, van Woudenberg, Everson, Matthews, Beiers, Jordan

   Pine and John Does 1 - 10 intentionally and negligently inflicted severe and permanent

   emotional distress against Curtis through all of the above and below stated actions.

          12.     Chasefield Capital, Chasefield Real Estate, van Woudenberg and Pine are

   the alter egos of Pakems and Lever Up.

          13.     Plaintiff asserts violations of the Stored Communications Act (18 U.S.C. §

   2702 (a)) (“SCA”), Federal Wiretap Act (18 U.S.C. § 2511 and § 18 U.S.C. § 2520)

   (“FWA”), Computer Fraud and Abuse Act (18 U.S.C. § 1030) (“CFAA”), Colorado Anti-

   Discrimination Act, Colo. Rev. Stat. § 24-34-401, et seq. (“CADA”), and the commission




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   of common law torts including Invasion of Privacy, Civil Conspiracy, Breach of Duty of

   Loyalty, Intentional Interference with Prospective Business Advantage, Outrageous

   Conduct, Intentional Interference of Contractual Relations, Defamation, Termination in

   Violation of Public Policy, Promissory Estoppel, and Breach of the Covenant of Good

   Faith and Fair Dealing. Curtis further asserts that Chasefield Capital, Chasefield Real

   Estate, LLC, van Woudenberg and Pine are the Alter Egos of Pakems and Lever Up.

         14.    This suit is brought for damages, rescission, the appointment of a Receiver

   and an injunction. Given the gravity of this situation, a Receiver must be appointed

   immediately as the Defendants have basically shut the doors on Pakems. In addition,

   emergency injunctive relief is required to stop Defendants from further unlawful

   misconduct and to preserve evidence which might otherwise be destroyed.

                                       II.    PARTIES

         15.    At all relevant times, Plaintiff Curtis was a resident of Colorado.

         16.    Defendant Lever Up Inc. is a Colorado corporation with its principal place

   of business at 950 South Cherry Street, Suite 414, Denver, CO 80246.

         17.    Defendant Pakems, LLC is a Colorado limited liability company with its

   principal place of business at 950 South Cherry Street, Suite 414, Denver, CO 80246.

         18.    Defendant Chasefield Capital Inc. is a Colorado corporation with its principal

   place of business at 950 South Cherry Street, Suite 414, Denver, CO 80246.

         19.    Defendant Chasefield Real Estate, LLC is a Colorado corporation with its

   principal place of business at 950 South Cherry Street, Suite 414, Denver, CO 80246.




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         20.    Defendant SCB Global Management, LLC is a foreign limited liability

   company organized under the laws of the State of Delaware, with its principal place of

   business at 300 S. Jackson Street, Suite 220, Denver, CO 80209.

         21.    Defendant Boccus Group LLC is a Colorado limited liability company with

   its principal place of business at 4966 South Nelson Street, Unit A, Littleton, CO 80127.

         22.    Upon information and belief, Defendant Harold Pine is a resident of

   Colorado, has an ownership interest in Chasefield Capital, Chasefield Real Estate, and

   Lever Up and is an employee of Chasefield Capital.

         23.    Upon information and belief, Defendant Walter van Woudenberg is a

   resident of Colorado and has an ownership interest in Chasefield Capital, Chasefield Real

   Estate, and Lever Up.

         24.    Upon information and belief, Defendant Russ Matthews is a resident of

   Colorado, has an ownership interest in SCB Global, is a director of Pakems and is on the

   Board of Directors of Lever Up.

         25.    Upon information and belief, Defendant Jordan Pine is a resident of

   Colorado, is an employee of Chasefield Capital, and has an ownership interest in Lever

   Up.

         26.    Upon information and belief, Defendant Kellie Beiers is a resident of

   Colorado, is an employee of Chasefield Capital, and has an ownership interest in Lever

   up.

         27.    Upon information and belief, Defendant Seth Everson is a resident of

   Colorado and has an ownership interest in Boccus Group.




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         28.          Upon information and belief, Defendants John Does 1 – 10 are residents of

   Colorado and were engaged by Defendants Pine and van Woudenberg to carry out the

   alleged Computer-Related Conduct.

         29.          The alleged Computer-Related Conduct was conduct either initiated by the

   Defendants individually, caused to occur, controlled, directed, authorized, encouraged,

   engaged and/or paid others to perform, assisted in, had knowledge of or participated in,

   and conduct for which each Defendant is liable.

         30.          Further the Defendant companies are entities that employ the individual

   Defendants, own equipment that was used, own accounts that were used, paid for

   accounts that were used, engaged and/or paid others to perform, or Defendants had an

   ownership interest in the Defendant entities that were involved with committing the

   Computer-Related Conduct.

               III.       ADMINISTRATIVE REMEDIES HAVE BEEN EXHAUSTED

         31.          Plaintiff incorporates by reference the above paragraphs as though set forth

   separately herein.

         32.          Prior to filing this action, Plaintiff filed her Charges of Discrimination, Charge

   No. E2000006964x against Lever Up and Charge No. E2000006717x against Pakems,

   with the Colorado Civil Rights Division (“CCRD”) for gender discrimination, disability

   discrimination, hostile work environment, and retaliation on or about January 24, 2020.

         33.          On or about April 9, 2020, the CCRD issued a Dismissal and Notice of Right

   to Sue in connection with the Charges of Discrimination.

         34.          The Dismissal and Notice of Rights letters are attached hereto as Exhibit A.




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          35.     This action is timely filed because it is filed within ninety (90) days of

   Plaintiff’s receipt of the Notice of Right to Sue letter issued by the CCRD.

          36.     Plaintiff has met all administrative prerequisites prior to filing this action.

                               IV.    JURISDICTION AND VENUE

          37.     Plaintiff incorporates by reference the above paragraphs as though set forth

   separately herein.

          38.     Plaintiff brings this action under the Stored Communications Act (18 U.S.C.

   § 2702 (a)) (“SCA”), Federal Wiretap Act (18 U.S.C. § 2511 and § 18 U.S.C. § 2520)

   (“FWA”), Computer Fraud and Abuse Act (18 U.S.C. § 1030) (“CFAA”), Colorado Anti-

   Discrimination Act, Colo. Rev. Stat. § 24-34-401, et seq. (“CADA”) and common law tort

   claims.

          39.     This Court has personal jurisdiction over all Defendants, based on the fact

   they all have engaged in business activities in and directed at the State of Colorado, have

   committed tortious acts within Colorado, have sufficient minimum contacts or are citizens

   of Colorado.

          40.     This Court has original subject matter jurisdiction over Plaintiff’s federal

   claims pursuant to 28 U.S.C. § 1331.

          41.     This Court has supplemental jurisdiction over Plaintiff’s state law claims

   under 28 U.S.C. §1367, as such claims arise out of the same case or controversy as

   Plaintiff’s SCA, FWA, and CFAA and claims.

          42.     Venue is proper in this District pursuant to 28 U.S.C. §1391(b) because the

   conduct alleged to be unlawful occurred in this District.




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                              V.      FACTUAL BACKGROUND

         43.    When Curtis got her first Apple device, an iCloud account was automatically

   created and the email account julie.adams7@icloud.com was created.

         44.    In    2005,        Curtis   created    a    personal      email    account

   julieadamscurtis@yahoo.com that is hosted by Yahoo.

         45.    In    2008,        Curtis   created    a    personal      email    account

   julieadamscurtis@gmail.com that is hosted by Google.

         46.    In 2008, Curtis set up a personal Facebook account.

         47.    In 2011, Curtis left her career as an attorney and invented the lightweight,

   packable shoe that she called Pakems.

         48.    Curtis was the founder and CEO of Pakems Inc. which she incorporated in

   July 2011.

         49.    In 2011, Curtis purchased an Apple Macintosh computer (hereinafter

   referred to as “MAC1”) that was used for personal matters and for Pakems business.

   Pakems did not reimburse Curtis for this computer. This computer has always been and

   remains her personal computer.

         50.    In 2012, Curtis created the email account jadams@apresgear.com that was

   hosted by Google. This account is tied to a Google GSuite account that Curtis has paid

   for and currently pays for. This account was used for sending and receiving emails for

   personal matters and during a limited period of time for Pakems business.

         51.    In 2013, Curtis created the email account julieadams@pakems.com that

   was hosted by GoDaddy. This account was used for sending and receiving emails for

   personal matters and for Pakems business.




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           52.    In 2013, Curtis created the email account julieadamspakems@gmail.com

   that is hosted by Google. This account was used for sending and receiving emails for

   personal matters and during a limited period of time for Pakems business.

           53.    In    2013,      Curtis   created          a     personal      email      account

   julieadamspakems1@gmail.com that is hosted by Google.

           54.    In 2017, Curtis created the email account pakemskickstarter@gmail.com

   that is hosted by Google. This account was used for sending and receiving emails for

   Kickstarter-related matters.

           55.    Curtis had an AppleID that was used by her and her son, Bodie Curtis, for

   the purpose of setting up their personal Apple computers and personal Apple iPhones.

   There    was    an   iCloud    account   tied       to   the   AppleID     with   the   user   ID

   julieadamscurtis@yahoo.com. An email account was created within her iCloud account

   julie.adams7@icloud.com.

           56.    Curtis had a personal Apple iPhone with the phone number 303-204-5265

   which was tied to her various accounts. Because of Defendants’ actions with regard to

   this personal Apple iPhone, Curtis had to purchase a new Apple iPhone and had to

   change her personal cell phone number after approximately 22 years.

           57.    Curtis used the software Keeper Security to store her personal passwords

   and Pakems-related passwords. This account can be accessed online and via an

   application on her computers.

           58.    Curtis was the CEO of Pakems Inc. from 2011 until it was dissolved in 2018.

           59.    Pakems Inc. never had a policy that Curtis or other independent contractors

   could not use company-related email accounts for personal matters. In other words, all of




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   the email accounts she created, she was allowed to use for personal matters and had an

   expectation of privacy in all of the content within the email accounts she created.

          60.   On or about June 13, 2017, Curtis met Defendant Pine at the Go Pro Games

   in Vail, Colorado and began discussing a potential investment in her company Pakems

   Inc.

          61.   On or about October 19, 2017, Pine let Curtis know that Chasefield Capital

   was not interested in an investment.

          62.   On or about May 9, 2018, Curtis contacted Pine on a matter not related to

   Pakems. Pine informed Curtis that Chasefield Capital had changed its mind and was now

   interested in an investment in Pakems Inc.

          63.   On or about August 21, 2018, Curtis met with Defendants Pine and van

   Woudenberg, and Pine informed her later that day that Chasefield Capital was going to

   invest in Pakems Inc.

          64.   On August 30, 2018, Pine signed an agreement obligating Chasefield

   Capital to purchase inventory for Pakems Inc. and all of the funds received from the sale

   of the inventory was the property of Chasefield Capital.

          65.   From September 7, 2018 through October 3, 2018, Curtis was paid by

   Chasefield Capital.

          66.   On September 7, 2018, Lever Up Inc. was formed.

          67.   On October 11, 2018, Pakems LLC was formed.

          68.   Lever Up Inc. is the parent company of Pakems LLC and sole member of

   Pakems LLC.




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          69.    On October 26, 2018, Pakems LLC purchased Pakems Inc. pursuant to the

   terms and conditions set forth in the Asset Purchase Agreement.

          70.    From October 18, 2018 through December 3, 2018, Curtis was paid a salary

   by Lever Up. Thereafter, Curtis was paid a salary by Pakems LLC. Employment taxes

   were taken out of her paychecks.

          71.    On or about October 26, 2018, Pine, van Woudenberg, and Curtis signed

   an Action by Written Consent and became directors of Lever Up. Pine was the Chief

   Executive Officer and Secretary of Lever Up and van Woudenberg was the President.

          72.    On or about October 26, 2018, Curtis signed an Employment Agreement

   with Lever Up that set forth the terms and conditions of her employment as Chief

   Executive Officer at Pakems, LLC.

          73.    The Employment Agreement made it clear she was to report to the

   Manager, Lever Up, and was subject to the control, supervision, and oversight of Lever

   Up (via its board of directors).

          74.    The Employment Agreement also provided that her job duties were subject

   to the control, supervision, and oversight of Lever Up (via its board of directors).

          75.    On or about October 26, 2018, Curtis signed a Stock Restriction Agreement

   whereby she vested in 225 common stock shares of Lever Up (approximately a 29%

   ownership) and had the opportunity to vest in an additional 225 common stock shares in

   48 equal monthly installments over a four (4) year period commencing on the third month

   anniversary of the Closing Date (October 26, 2018).




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          76.    The Stock Restriction Agreement also provided that an additional 225

   common stock shares would accelerate and vest if she was terminated without cause or

   quit with good reason, as defined in the Stock Restriction Agreement.

          77.    Set forth in paragraph 2 of the Stock Restriction Agreement, entitled

   Vesting., (d) Option to Purchase Vested Shares, “…(i) Upon the termination of Holder’s

   [Curtis] Business Relationship with the Company for any reason, the Company shall have

   the option, … to purchase the then Vested Shares.” Pursuant to section (iii), the price of

   the common stock shares shall be $1,000 if she were to be terminated without cause on

   or before the first anniversary of the Closing Date.

          78.    Initially, van Woudenberg held 450 common stock shares (approximately a

   58% ownership) in Lever Up and Pine owned 100 common stock shares (approximately

   a 13% ownership). Pine transferred some of his Lever Up shares which resulted in him

   owning 61 common stock shares, Jordan Pine owning 13 common stock shares, Andrew

   Pine owning 13 common stock shares, and Beiers owning 13 common stock shares.

          79.    Curtis provided passwords to Beiers, Jordan Pine, Everson, and van

   Woudenberg for Pakems-related accounts to change credit card information, analyze

   Pakems website, create a new Pakems website and redirect Pakems DNS to Shopify, fix

   email issues for contact@pakems.com and support@pakems.com, and access Digital

   Marketing data.

          80.    For some of Curtis’ personal accounts, she used the same or similar

   passwords that she used for Pakems-related accounts.




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   A.     The December 13, 2018 Meeting – To Secretly Spy on Curtis, Defendants
          Installed Unauthorized Software on Curtis’ Computers and Changed
          Settings on her iPhone Without Curtis’ Authorization or Knowledge

          81.    In early December 2018, at the request of Pine, Curtis was directed to meet

   with Chasefield Capital’s IT person, Defendant Everson.

          82.    Curtis was told the purpose of this meeting was to set up her newer Apple

   Macintosh computer that had previously been her son’s computer (hereinafter referred to

   as “MAC2”) so that the email account julieadams@pakems.com, would be available to

   her via the software Microsoft Outlook.

          83.    Directing Curtis’ julieadams@pakems.com email account to Microsoft

   Outlook would allow Curtis to use her email account in conjunction with the calendar

   function within Microsoft Outlook. The decision to use Microsoft Outlook for her email

   platform was to solve the issue Curtis had in that she was not able to view meeting invites

   sent to her from Chasefield Capital because they used Microsoft Outlook.

          84.    Curtis was also told that during the meeting Everson would give her access

   to a software program named SharePoint that is a cloud-based data storage application.

          85.    Curtis was informed that SharePoint would allow her to upload certain

   Pakems files so the files could be shared with Chasefield Capital employees.

          86.    In a December 3, 2018 email entitled “Meeting with IT,” Beiers asked Curtis,

   “Are you able to come in Wednesday, Thursday, or Friday at 9 AM to meet with Seth, our

   IT guy?”

          87.    Beiers subsequently sent Curtis a calendar meeting invite entitled “Security

   Installation.” Based on that email, Curtis was notified that security software would also be

   installed onto her computer.




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         88.    On December 13, 2018 at approximately 10:00 a.m., Curtis met with

   Chasefield Capital’s IT person, Defendant Everson, at Chasefield Capital’s, Chasefield

   Real Estate’s and Lever Up’s offices.

         89.    Everson is an agent of Chasefield Capital.

         90.    Curtis provided the MAC2 computer to Everson as the MAC2 computer was

   to become her primary computer to use for Pakems’ business.

         91.    Curtis also brought to the meeting her older Apple Macintosh computer that

   she previously used for Pakems’ business, the MAC1 computer, so that she could work

   while Everson was installing Microsoft Outlook and security software on her MAC2

   computer. Beiers had emailed Curtis stating that these software installation meetings with

   Everson can take a while.

         92.    After Everson was done with the software installation on the MAC2

   computer, Everson asked Curtis if she wanted her email julieadams@pakems.com to

   also be available to her on her MAC1 computer. Curtis responded that she did, so she

   provided him the MAC1 computer. Curtis believed Everson was only installing Microsoft

   Outlook on her MAC1 computer.

         93.    Everson also asked her if Curtis would like him to configure her personal

   iPhone so that she could access her email julieadams@pakems.com on her personal

   iPhone. Curtis responded that she did, so she provided him the iPhone.

         94.    MAC1, MAC2 and Curtis’ personal iPhone contained extremely personal

   and sensitive information, including but not limited to, personal photos, personal videos,

   personal text messages, personal documents, including financial information downloaded

   from her checking account, health information, personal letters, documents containing




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   diary type information such as her thoughts and feelings, personal emails, personal

   iMessages, including WhatsApp messages and Skype messages, passwords to her

   personal accounts, personal information regarding her divorce, personal information

   regarding relationships, and personal family information.

          95.    Everson     demanded      that        Curtis   use   a   password   for   her

   julieadams@pakems.com email account that he generated from a website that he

   accessed on his computer and stated that he did not want Curtis to tell him the computer-

   generated password.

          96.    As the CEO of Pakems, Curtis worked remotely at her residence. During

   her employment, Curtis lived in two different residences. Because one of her residences

   was a small apartment, her office (consisting of a desk, filing cabinet and office supplies)

   was located in her bedroom. Curtis was in the habit of always leaving her computer on

   and open. She never covered the camera on her computers. Curtis lived in this small

   apartment from February 1, 2018 to February 28, 2019.

   B.     Pine’s and van Woudenberg’s Abhorrent Workplace Conduct

          97.    During Curtis’ employment, as explained below, she was subject to extreme

   and constant verbal abusive and threatening, offensive, intimidating, malicious, insulting,

   humiliating, and denigrating conduct at the hands of Pine. Curtis was the victim of a

   workplace bully because of her sex.

          98.    On numerous occasions, through email, via telephone and during face-to-

   face meetings, Curtis complained to van Woudenberg about Pine’s abusive conduct.

   During these discussions, van Woudenberg would state that he had never seen Pine treat

   someone the way that he was treating Curtis.




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         99.    Van Woudenberg continued to be witness to the abusive conduct and never

   took the appropriate corrective action to stop the abusive conduct.

         100.   Pine, the Chief Executive Officer and Secretary of Lever Up, was the

   decision-maker with regards to Pakems for most of Curtis’ employment at Pakems and

   dictated Curtis’ job duties. She had to seek approval from board members in regard to

   the Pakems’ budget and to sign contracts.

   1.    Pine Wishes Curtis to Fail as Pakems CEO
         and Sabotages Curtis’ Efforts to Run Pakems

         101.   On numerous occasions, both verbally and in writing, Pine stated that Curtis

   was not “fit” to be a CEO and demanded that she be terminated. He made these

   statements in emails, dated January 8, 2019, January 13, 2019, February 18, 2019 and

   March 12, 2019.

         102.   On a regular basis, van Woudenberg told Curtis that Pine wanted her to fail

   in her role as CEO.

         103.   On or about November 12, 2019, Curtis met with Pine. Pine started the

   conversation stating that Beiers and Jordan Pine hated working with her and that he

   despised working with her. Curtis later learned from Beiers that this was a lie because

   Beiers told her she had really enjoyed working with Curtis.

         104.   On January 7, 2019, Curtis received an email from Pine where he stated,

   “BTW I was privy to that conversation [between Curtis and Beiers] on the FBA you tube.“

   At the time, Curtis believed that this was because he was in the office where the

   Chasefield Capital employees could overhear everyone’s conversations. Curtis later

   learned that Pine was on vacation during the conversation so the only way he could have




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   been privy to the conversation was because he was listening to her conversations she

   had with others through Curtis’ computer.

          105.   In the same January 7, 2019 email, Pine stated, “I don’t like the blaming [of]

   others issue for your information. It doesn’t matter who fucked up. What matter [sic] is it

   gets done. My staff owns their fuck ups.”

          106.   Curtis responded to this email not understanding what Pine was talking

   about because she had not blamed anyone in the email. Pine’s response was, “We’ll see.”

          107.   Curtis did not understand this email or response at the time. Now it is

   understood that he was watching and listening to her via the camera and microphone on

   her computer and this is why he said, “We’ll see.”

          108.   Curtis had never stated directly to Pine about how frustrated she was with

   all of Chasefield Capital’s missteps because it didn’t know anything about the footwear

   business, she only had those conversations with others, in what she thought, was the

   “privacy” of her own home.

          109.   On January 20, 2019, Curtis had questions about the budget Pine put

   together and van Woudenberg asked Pine to answer Curtis’ questions. Pine responded

   that he would do this; however, Pine never did.

          110.   Throughout Curtis’ employment, she requested to engage five (5) different

   individuals that had footwear or industry experience to offer advice and assistance to grow

   the company. Curtis even offered to give up equity in the company to accomplish this.

   Pine and van Woudenberg said no to all of her requests.




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   2.    Pine Threatens Curtis

         111.   During a January 8, 2019 telephone conversation between Pine and Curtis,

   Pine stated that he knew she wanted to meet with van Woudenberg outside of his

   presence (which Curtis later discovered was because he was monitoring her email) and

   stated that he dared her to complain about him to van Woudenberg because the last

   person that complained about him it did not end well for them.

   3.    Van Woudenberg Makes a Promise to Curtis That He
         Will Not Suddenly Fire Her Without Compensating Her

         112.   During a January 9, 2019 face-to-face meeting with Curtis, Pine and van

   Woudenberg, Pine began the meeting demanding Curtis be fired and that he had advised

   van Woudenberg not to invest in Pakems. Van Woudenberg later told Curtis that this was

   a lie because Pine insisted that he invest in Pakems.

         113.   At the end of the meeting, Curtis asked van Woudenberg if he wanted her

   to quit. Curtis stated that she needed financial stability because over the course of the

   prior year, she had made so many financial sacrifices to keep Pakems operational and

   invested the rest of her entire life savings. Curtis told van Woudenberg that at times she

   struggled to pay rent and buy groceries for her and her son and she did not want to ever

   go through that again.

         114.   Van Woudenberg responded that he would not just suddenly fire her one

   day and put her in the same financial position she had recently been in.

         115.   Van Woudenberg also stated that he could never get another CEO for what

   she was being paid. Van Woudenberg then stated, “if there’s no Julie, then there’s no

   Pakems because you [Curtis] are Pakems.”




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          116.   The next day, on January 10, 2019, despite van Woudenberg’s assurances,

   Curtis received an email from van Woudenberg informing her that Pine’s conduct caused

   van Woudenberg to change his mind about Chasefield continuing to partner with Curtis

   and invest more money. Van Woudenberg demanded that Curtis find a new “more

   suitable partner capable of taking Pakems to where it deserves to be.”

   4. Pine Tells Lies About Curtis

          117.   Van Woudenberg continued in the January 10, 2019 email,

                 “Speaking for myself, I favour a solution that will allow us to extract from
                 Pakems, and leave you with the potential for switching tracks and joining up
                 with a more suitable partner capable of taking Pakems to where it deserves
                 to be. It seems obvious to us that the deep-seated differences between
                 particularly you and [Pine] do not allow for a fruitful relationship to run and
                 grow the business. … I am prepared to spend time with you to help make
                 that happen. … I do not want to put a timeline on this process but, I am
                 sure you agree that time is of the essence, as a long disruption will play
                 havoc with your business cycle.”

          118.   It is obvious from this email that Pine was telling van Woudenberg lies about

   the relationship between Curtis and Pine. The real relationship was that Curtis was the

   victim of Pine’s bullying and not that there was a personality conflict which made it seem

   like Curtis’ personality was an issue.

          119.   Pine stated to Matthews that he had a conflict with Curtis, that Curtis was

   performing badly, and Curtis was not receptive to advice or criticism.

          120.   In a February 18, 2019 email, Pine stated to Curtis and van Woudenberg

   that, “[Curtis] clearly doesn’t want to be accountable and has demonstrated it by not

   providing the requested information or by blaming others, obfuscating or deflecting.”




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   5.       Pine’s Hostile Behavior and Actions
            Towards Curtis Was Sexual Discrimination

            121.   During one conversation between Pine and Curtis, Pine stated to her that

   she was “one of those girls that lies in bed at night and makes stuff up.”

            122.   Pine also told Curtis that he thought Curtis was “one of those people” that

   was too afraid to sell.

            123.   On February 13, 2019, Curtis received a derogatory email from Pine telling

   her that she needed to learn to read the year-end balance sheet and income statement

   insinuating that she was not competent enough to understand the year-end balance sheet

   and income statement.

            124.   On February 14, 2019, Curtis sent an email to Beiers. Beiers responded

   that Curtis had to include Pine on every email. Curtis responded that she “was once again

   hoping to limit the verbal abuse because [she] didn’t think that [Pine] needed to be

   involved. Curtis further stated that, “[t]his issue caused [Pine] to send [Curtis] yet again

   another email lambasting [Curtis] – he doesn’t cc anyone on those emails” and that Curtis

   hoped Beiers could understand why she was trying to work with just her on that particular

   issue.

   6.       Others Found Pine’s Behavior “Bizarre” and “Abusive”

            125.   During a conversation with Beiers about the way Curtis was being treated,

   Beiers stated that Pine’s behavior towards Curtis was “bizarre.”

            126.   Angela Miles, an independent contractor who assisted with Pakems’

   marketing efforts, witnessed Pine’s behavior toward Curtis and stated to Curtis that she

   believed Pine’s conduct towards Curtis was “abusive” and that Pine’s behavior really

   upset her to the point that she no longer wanted to be on Pakems conference calls.


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         127.   Van Woudenberg stated to Curtis on various occasions that he had never

   seen Pine treat anyone the way that he was treating Curtis and that he unfortunately could

   never invest in another company like Curtis’ because of what he had witnessed - Pine’s

   abusive behavior towards Curtis.

         128.   During a March 11, 2019 telephone call, Pine immediately began the call by

   telling Curtis she was on thin ice and began yelling and screaming at her that he was

   coming after her, threatened her that she was going to be fired, and that she needed to

   stop playing stupid about a meeting she had scheduled with his accountant regarding the

   incorrect financial statements that changed three (3) times that Pine provided to Curtis.

         129.   Curtis did not raise her voice during this conversation. Curtis’ operations

   assistant, Stephanie Childers (“Childers”), overhead the telephone conversation.

         130.   Curtis spent much of the call trying to figure out why Pine had called her out

   of the blue and had begun the conversation by threatening her and was so irate to the

   point of yelling and screaming at her.

         131.   It now makes sense that this call was not out of the blue; Pine called Curtis

   because he was unlawfully listening to the conversation Childers and Curtis were having

   and the subject of their conversation was what made him so livid. This was the reason

   Pine called her at that exact moment in time.

         132.   Pine’s behavior on this telephone call was so threatening, it left Curtis

   physically shaking.

         133.    Childers was so alarmed by what she heard she stated that Curtis should

   be afraid of Pine, to never meet with Pine by herself, and that he seemed very unstable.




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          134.   Curtis immediately closed all the blinds to her house, checked to make sure

   that all of her doors and windows were locked, and has not felt safe since that telephone

   call on March 11, 2019, especially in light of all of the other conduct that she has

   uncovered that has been directed toward her.

          135.   The next day, on March 12, 2019, Pine sent an email to van Woudenberg

   and Curtis stating,

                 “Yesterday was most unpleasant which seems to be a recurring theme for
                 Julie and me. Considering that, I have decided that I will remove myself
                 100% from Lever Up and Pakems. I have some very strong opinions about
                 the direction and management of the firm that conflict with Julie.”

          136.   Pine again mischaracterized what had occurred on this phone call and

   made it appear that Curtis was confrontational or raised her voice during the meeting.

   This was not true. Curtis never once raised her voice and merely kept asking why she

   was on thin ice, why she needed to watch her back, and why he kept stating that he

   wanted her fired because she knew this already from countless conversations and emails.

          137.   After Pine resigned on the board of Lever Up, Curtis was told that Defendant

   Matthews would replace him.

          138.   On March 21, 2019, Pine sent an email to Everson instructing him to

   “disconnect Chasefield internal drives and separate Pakems as its own entity as of

   4.15.2019. Contact Julie as to how she wants to handle IT she may choose someone

   else or no one.” The drives were never separated, and Curtis never contacted Everson

   as she did not have a need for an IT person.

          139.   After every face-to-face meeting with van Woudenberg and Matthews, van

   Woudenberg would tell Curtis that they were going to meet with Pine afterward.




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            140.   Curtis was in constant fear that Pine would get his way and she would be

   fired.

   7.       Pine Falsified Pakems’ Tax Returns to His Personal Benefit

            141.   After Pine resigned from the board of Lever Up, he was permitted to

   continue working with his accountant to file Pakems’ 2018 taxes and create the monthly

   Balance Sheets and Income Statements.

            142.   On April 3, 2019, Curtis met with van Woudenberg to let him know that she

   had accidentally uncovered the fact Pine tried to hide that Chasefield Capital owed

   Pakems over $9,000 and that the revised Profit & Loss Statement and Balance Sheet

   Pine submitted to them were wrong because of Pine’s cover-up.

            143.   The next day, on April 4, 2019, Curtis received an email from Pine letting

   her know that he was still in charge of handling accounting going forward and that Curtis

   would not be able to write checks on behalf of Pakems.

            144.   This directive from Pine was offensive in that Curtis, the CEO of Pakems,

   was being treated as a person that could not be trusted with the Pakems’ bank account.

            145.   On April 24, 2019, van Woudenberg sent an email to Curtis stating,

                   “Julie, I also suggest that you give up on trying to adjust 2018 accounting.
                   The small adjustments resulting from an expensive and time-consuming
                   effort are just not worth it, and are a major distraction from your sales efforts.
                   Our focus needs to be on generating revenues and margins.”

            146.   On April 30, 2019, Pine sent an email to Curtis and van Woudenberg in an

   attempt to explain why the Balance Sheet that he submitted to them was wrong. In this

   email, Pine stated, “It has been here since 12.31.2018 and my accountant failed to

   mention, and I only focused on the income statement for Chasefield at year-end. Between




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   the two of us, we miscommunicated” and that he will send the funds totaling $9,217.18 to

   Pakems.

          147.    In this email, Pine appeared to blame his accountant for the almost $9,000

   discrepancy even though Pine submitted an invoice to Pakems for $9,000 on January 31,

   2019, the same day the accountant revised Pakems financials to reflect this invoice.

   Further, this invoice dated January 31, 2019, was reflected as an account payable in the

   2018 Pakems’ financials that were done using cash basis accounting, meaning this was

   a mistake to include any accounts payable information and should only be reflected in the

   year it is paid.

          148.    As of June 24, 2019, Pine had not transferred the funds from Chasefield

   Capital to Pakems.

          149.    On May 1, 2019, Curtis sent an email from her personal email account

   to her accountant stating that she was concerned about her fiduciary responsibility as the

   CEO of Pakems and a lawyer to file a false tax return.

          150.    Because Pine was secretly reading emails from Curtis’ personal account,

   Pine incorrectly conveyed to van Woudenberg that she was meeting with the accountant

   to have her try to adjust the 2018 accounting.

          151.    Curtis merely had questions that she needed an accountant to answer and

   actually met with the accountant and paid the accountant to have her complete Pakems

   Inc. taxes for the first part of 2018 (before the Chasefield Capital purchase of Pakems

   Inc. occurred).

   8.     Curtis Ends Up in Hospital

          152.    On May 31, 2019, Curtis went to the hospital with heart attack symptoms.



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          153.    On June 4, 2019, Curtis told van Woudenberg and Matthews that she went

   to the hospital with heart attack symptoms and that the doctors told her that the symptoms

   were more than likely caused by stress.

          154.    On June 4, 2019, Curtis, van Woudenberg and Matthews met with a third-

   party to discuss a strategy for finding a more suitable partner.

          155.    On June 18, 19, and 20, 2019, Curtis attended the Outdoor Retailer Trade

   Show where she made several potential business opportunities.

          156.    On June 19, 2019, when Curtis saw van Woudenberg and Matthews, she

   told them about some of the business opportunities she had made at the trade show and

   that L.L. Bean loved the samples she provided and wanted additional samples made in

   its plaid pattern.

   C.     Curtis Terminated For Health Issues and Pakems Left to Fail

          157.    Less than three weeks after her trip to the hospital, on Saturday, June 22,

   2019, Curtis received an email from van Woudenberg stating that she needed to be at a

   meeting with him and Matthews at Matthews’ office on Monday, June 24, 2019.

          158.    Van Woudenberg told Curtis that Matthews and he had decided to remove

   Curtis from the board of directors and to terminate her employment.

          159.    Curtis asked why she was being terminated. One of the reasons van

   Woudenberg stated was that it was in the company’s best interest because of Curtis’

   health issues.

          160.    Curtis asked who was going to run the company now that she had been

   terminated. Van Woudenberg stated that Chasefield Capital would run the company.

   Curtis gasped because on several occasions, including emails, Pine admitted that



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   Chasefield had negatively impacted Pakems, that they didn’t have the requisite

   experience to operate a shoe company, they didn’t understand the process to send shoes

   to Amazon as a FBA (Fulfilled By Amazon) vendor, were very busy running three (3) other

   companies and on multiple occasions had stated that Chasefield Capital was not a

   suitable partner.

          161.   Curtis stated that she did not want to remain partners with them and no

   longer wanted her ownership interest in Pakems and wanted them to buy her 450 shares

   (her unvested shares vested since she was terminated without cause) for $450,000 as

   set forth in her Stock Restriction Agreement.

          162.   Van Woudenberg stated that he would not exercise this option unless he

   absolutely had to.

          163.   At the termination meeting, Curtis was given an Option Agreement that set

   forth she has until July 1, 2020, to purchase all of the common stock in the corporation

   not held by her in the amount of the greater of $2,000,000 or nine times (9x) the

   company’s EBIDA for the trailing twelve months prior to giving written notice of her intent

   to exercise the option, as determined by the Board of Directors in good faith, divided by

   the company’s equity capitalization immediately prior to the closing date. Within this

   document she discovered that van Woudenberg now owned 754 shares of Lever Up

   common stock (approximately a 58% ownership when considering Curtis’ vested 450

   shares).

          164.   After Curtis was terminated, she discovered that Defendants cut off her

   access to julieadams@pakems.com and did not set up an automatic reply letting




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   individuals who sent Curtis an email that Curtis was no longer with Pakems. Curtis was

   never asked what her password was to her business email account.

          165.   Curtis was not given a warning that she needed to change anything she

   was doing, or she would be fired.

          166.   Curtis had been following the strategy for Pakems van Woudenberg and

   Matthews had approved.

          167.   Upon information and belief, Matthews became a part-time CEO of Pakems.

   Matthews did not have any prior footwear industry experience.

          168.   Due to Curtis’ termination, Pakems’ lost sales and potential sales

   opportunities that Curtis was cultivating, either directly or through sales representatives,

   including, but not limited to, Uncharted Supply Company, L.L.Bean, Dick’s Sporting

   Goods, REI, Dunham’s, Camping World, Vail Resorts, Alterra, Gorsuch, Steamboat

   Resort, Summit Sports, Gabe’s, a UK Distributor, and Sinner.

          169.   On June 25, 2019, Curtis returned Hamish Lorimer’s, Stepping Out

   Footwear, phone call from the previous day. Mr. Lorimer was an Australian distributor. He

   stated that he had received an email from Matthews stating that Curtis was no longer with

   Pakems and that Mr. Lorimer would be working directly with him and that Matthews was

   in the process of making a decision on new management.

      170.       On July 2, 2019, Lorimer sent an email to Matthews stating,

                 “I have decided to hold off ordering Pakems stock for my current winter. I
                 was a little taken back that [Curtis] has been removed from the business,
                 especially as she is the Founder of the Pakems brand. She has also been
                 instrumental in supporting me to set up the brand for web & Amazon sales
                 down under. So I am a little nervous investing funds now in the brand until
                 I can see what your management teams plans are moving forward.”




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             171.   Every single future order that Curtis obtained and potential sales

   opportunities she was working on went away because she was terminated.

             172.   Neither Matthews nor van Woudenberg reached out to Curtis after they fired

   her to find out what potential opportunities she was working on, or who had requested

   samples. Matthews nor van Woudenberg must have believed they knew everything Curtis

   was working on by listening to all of her conversations or through hacking into her

   computers.

             173.   After Curtis was terminated, the revenue realized over the latter part of the

   year was less than it was while Curtis was employed.

             174.   One of the reasons Defendants gave as the reason Curtis was terminated

   in their CCRD response was that Pakems’ gross profit was not enough to cover Curtis’

   salary.

             175.   After Curtis was terminated, Pakems’ gross profit went down and was not

   enough to cover Matthew’s salary. The average monthly total income during Curtis’ tenure

   was $7,135.16 per month and during Matthews’ tenure it was $55.36 per month.

             176.   Upon information and belief, Matthews, a male, has not been fired.

             177.   On March 13, 2020, Patrick Bernal, counsel for certain Defendants, stated

   in a letter, “In January and early February 2020, I exchanged a series of emails with Ms.

   Curtis, concerning the potential dissolution, or sale, of Pakems, LLC, and its holding

   company, Lever Up, Inc.”

             178.   Upon information and belief, Defendants conducted a liquidation sale and

   have currently shut the doors on Pakems and are not making Pakems available for sale.




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         179.   Curtis will lose the over $1 million that she invested in Pakems if the

   company is dissolved and no efforts are made to attempt to sell the company.

         180.   On July 25, 2019, Curtis gave written demand to inspect and copy certain

   documents pursuant to Colo. Rev. Stat. Ann. § 7-116-102.

         181.   To date, Curtis has not received minutes of shareholders’ meetings, records

   of actions taken without a meeting, minutes of meetings of the board, waivers of notice of

   meetings, or the names and business addresses of all of the current officers and directors.

         182.   Further, Curtis has requested specific information regarding the company’s

   inventory. Curtis has not received the requested information.

   D.    Defendant’s Hacked Curtis’ MAC1 and MAC2 Personal Computers and
         Personal iPhone to Secretly Spy on Curtis and Read Her Private Information

         183.   Soon after Curtis was terminated, she began noticing unusual things going

   on with her MAC1 and MAC2 computers and her personal iPhone.

         184.   The unusual things first began with noticing that there were several emails

   on her iPhone that were from someone named “Stupid.”

         185.   Curtis noticed, including, but not limited to:

                (a) files on her MAC1 and MAC2 computers that were not files that she

                   created;

                (b) she discovered a hidden library on her MAC2 computer with various

                   folders that she did not create;

                (c) she began noticing that there were files and applications opened on her

                   computers that she had not opened;




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                 (d) she noticed that when she stepped away from her MAC2 computer, the

                       programs and files visible on the screen were not the same when she

                       returned;

                 (e) she noticed that software programs were installed on her MAC2 computer

                       that she did not install; and,

                 (f) she noticed software programs were removed from her computer that she

                       did not remove.

          186.       Ultimately, all of these observations led to the following extremely

   disturbing, exceptionally shocking, and particularly offensive and disgusting discoveries.

          187.       When Curtis met with Everson on December 13, 2018, he downloaded and

   installed much more than Chasefield Capital or Everson informed Curtis Everson was

   installing.

          188.       At the meeting in Chasefield Capital’s offices, at 11:28 a.m., Everson

   installed     a     software     package      entitled   chasefieldcapitalmainoffice.4.0.4889-

   installer(1).pkg@base.pkg onto Curtis’ MAC2 computer.

          189.       This   software   package     contained   the   spyware   software   entitled

   NinjaRMMAgent 4.0.4889 (“Ninja Spyware”).




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          190.   Below is screen shot of a log file from Curtis’ MAC2 computer (emphasis

   added).




          191.       The Ninja Spyware was used to remotely access Curtis’ personal computer

   whenever Defendants wanted to and without her authorization or knowledge.

          192.   Rather than merely installing Microsoft Outlook and setting up Curtis’ email

   julieadams@pakems.com to also be available to her on her MAC1 computer, Everson

   installed   the     same    chasefieldcapitalmainoffice.4.0.4889-installer(1).pkg@base.pkg

   software package onto Curtis’ MAC1 computer that he installed on her MAC2 computer.

          193.   Similarly, Everson installed the Ninja Spyware on Curtis’ MAC1 computer.

          194.   The Ninja Spyware log file indicates that Everson granted access to the

   Ninja Spyware to four individuals.

          195.   On December 13, 2018, at 11:41 a.m., Everson downloaded and installed

   software called TeamViewer on Curtis’ MAC2 computer.


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         196.   Below is screen shot of a log file from Curtis’ MAC2 computer.




         197.   This TeamViewer software can be used in conjunction with the Ninja

   Spyware and enabled the Defendants to remotely access Curtis’ MAC2 computer

   whenever they wanted to and have the ability to remotely “control” her computer.

         198.   Similarly, Everson installed the TeamViewer software on Curtis’ MAC1

   computer.

         199.   Everson assigned Curtis’ MAC1 and MAC2 computers to his TeamViewer

   account so that the devices could be remotely managed and monitored by the account

   owner and others he granted access to at any time.

         200.   Everson also customized the settings within the TeamViewer software so

   that the TeamViewer software would automatically launch every time Curtis logged into

   her computers and, unbelievably, Everson turned off the logging function so that this

   application would not create log files when the application was used.




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         201.   Everson also hid the TeamViewer software on Curtis’ MAC1 and MAC2

   computers    as    evidenced   by   the   file    path   on   her   computers,   which   was

   /Applications/.TeamViewer/TeamViewer.app – the “.” In front of “TeamViewer” indicates

   a hidden folder.

         202.   Not only did TeamViewer allow the Defendants to remotely access Curtis’

   personal computers without her knowledge, but Defendants configured the TeamViewer

   software so that they could send files to themselves.

         203.   On December 17, 2018, at 1:21 p.m., Defendants, without Curtis’

   authorization or knowledge, reconfigured the TeamViewer software so that the main

   window on her MAC2 computer could be remotely controlled and gave themselves the

   capability to clip images from the folder /user/bodiecurtis/pictures/photoslibrary and gave

   themselves the ability to view the images they created and placed in that file, videos they

   created and placed in that file, and selected the option to also hear the audio from the

   videos they viewed.

         204.   This was the initial method Defendants used to secretly spy on Curtis by

   accessing the camera and microphone on her computer, capture screen shots of her,

   videoed her and listened to the audio.




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         205.   Below is screen shot of a log file from Curtis’ MAC2 computer.




         206.    Everson, without Curtis’ authorization or knowledge, changed the

   Administrator settings on Curtis’ MAC2 computer and added additional Administrators

   within a Group called “Administrator’s Public Folder” and another Group called “Bodie

   Curtis’s Public Folder.” Within these Groups, Everson selected “Everyone” so that any

   and all Defendants could access her computer.




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         207.   Below is screen shot from Curtis’ MAC2 computer.




         208.    The result of this was that when the Defendants accessed Curtis’ MAC2

   computer, without Curtis’ permission or authorization, and download applications, folders,

   files, saved information to /var/ files, etc., Defendants would do it by accessing the

   computer user “bodiecurtis” and they would access the Library that was hidden on Curtis’

   MAC2 computer.




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         209.   Below are screen shots from Curtis’ MAC2 computer.




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         210.   Most of the actions and conduct described below was discovered in the

   folder entitled “Library” that had been hidden on Curtis’ MAC2 computer or within the log

   information on the back end of her MAC2 computer.

         211.   At the December 13, 2018 meeting, Everson installed the security program

   Webroot on Curtis’ MAC2 computer.

         212.   After the December 13, 2018 meeting, Defendants, without Curtis’

   authorization or knowledge, accessed Curtis’ computer on various occasions to change

   parameters of the Webroot security program. For example, Defendants accessed Curtis’

   MAC2 computer on January 10, 2019, at 10:50 a.m., and on February 17, 2019, at 6:52

   a.m. to make changes within Webroot. And, as set forth below in more detail, Defendants

   later hacked into Curtis’ MAC2 computer after she was terminated and deleted Webroot

   from her MAC2 computer.

         213.   Everson, without Curtis’ authorization or knowledge, changed the settings

   on Curtis’ MAC1 computer, MAC2 computer and personal iPhone so that all of the devices

   were connected to Curtis’ personal iCloud account.

         214.   As noted by the time stamp, Everson, at the December 13, 2018 meeting

   added or changed the email accounts within Curtis’ iCloud account, namely

   julie.adams7@icloud.com      and      julieadamscurtis@yahoo.com,      and     hid   the

   julieadamscurtis@yahoo.com email account in her iCloud account. This was done without

   Curtis’ authorization or knowledge.




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         215.   Below are screen shots from Curtis’ MAC2 computer.




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         216.   Months after Curtis was terminated, on August 14, 2019 at 3:44 p.m.,

   Defendants hacked into Curtis’ MAC2 computer and either created or modified the iCloud

   account “214253806.”

         217.   Below are screen shots from Curtis’ MAC2 computer.




         218.   At the December 13, 2018 meeting with Everson, without Curtis’

   authorization or knowledge, the contacts and images from Curtis’ personal iPhone were

   downloaded to the hidden folder on her MAC2 entitled Library.




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         219.   Below is a screen shot from Curtis’ MAC2 computer.




         220.    One minute later, Defendants, without Curtis’ authorization or knowledge,

   downloaded    Curtis   calendar   associated   with   her   personal   email   account

   julieadamscurtis@yahoo.com. The result of this was that Defendants could review every

   meeting that Curtis had scheduled within that calendar dating back to 2004.




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         221.   Below is a screen shot from Curtis’ MAC2 computer.




         222.   Within the Photos application on Curtis’ MAC2 computer, the settings were

   altered so that all of the photos and videos on her iPhone downloaded to her MAC2

   computer to the file path /user/bodiecurtis/pictures/photoslibrary, and at 12:41 p.m. on

   December 13, 2018, Everson configured, without Curtis’ authorization or knowledge, the

   “photoanalysisd” so that the “Favorites” photos were set to photos and videos of Curtis

   and her son. Further, the changes made to the settings on her personal devices resulted

   in Curtis’ photos and videos to download to her son’s phone and vice versa. Because

   Curtis’ was not informed of this change to her iPhone, Curtis and her son did not

   understand why this populating of photos and video on their iPhones suddenly happened.

   They spent hours trying to remedy this and ultimately, Curtis’ son lost every photo and

   video on his iPhone.




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         223.   At the December 13, 2018 meeting with Everson, without Curtis’

   authorization or knowledge, Defendants installed the “MobileDeviceKitLite” framework so

   that all of the content on Curtis’ personal iPhone would upload to her MAC2 computer.

   This included all of her personal photos, videos, text messages and voice mail messages.

         224.   Once uploaded to her MAC2 computer, this voluminous amount of personal

   and private content was stored in a folder entitled “Mobile Documents” on Curtis’ MAC2

   computer. Defendants would synchronize Curtis’ personal iPhone through the Bluetooth

   technology on both her MAC2 computer and her personal iPhone in order to gain access

   on a periodic basis to her personal photos, videos, text messages and voice mail

   messages.

         225.   This “Mobile Documents” folder was modified and opened the day before

   Defendants fired Curtis, on June 23, 2019 at 9:57 a.m.

         226.   Below is a screen shot from Curtis’ MAC2 computer.




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         227.   On July 29, 2019, more than a month after Curtis was fired, computer logs

   indicate that Defendants hacked into her MAC2 computer and launched the application

   AppleMobileDeviceHelper within Sync Services to further cause her personal iPhone to

   be synchronized to her computer.

         228.   The security and privacy settings on both MAC1 and MAC2 were changed

   to allow for all incoming connections from com.apple.webkit.networking.wpc.

         229.   On February 27, 2019 at 2:02 p.m., Defendants hacked into Curtis’ MAC2

   computer to add a WebKit.Plugin.32.

         230.   Then on August 14, 2019, about two months after they fired Curtis, at 9:06

   a.m., they hacked into her computer and changed the preferences associated with

   com.apple.webkit.networking.

         231.   At the December 13, 2018 meeting with Everson, without Curtis’

   authorization or knowledge, Everson also changed settings on Curtis’ personal iPhone so

   that all of the notes on her personal iPhone were sent to her personal email account

   julieadamscurtis@yahoo.com.

         232.   These notes contained extremely personal and sensitive information,

   including, but not limited to, passwords to various personal accounts and her son’s social

   security number.

         233.   Defendants, without Curtis’ authorization or knowledge, accessed this email

   account and all of the notes were read within her Yahoo email account.

         234.   At the December 13, 2018 meeting with Everson, without Curtis’

   authorization or knowledge, Silverlight was installed on Curtis’ MAC2 computer. This




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   software program compresses very large files to be sent over the network and is usually

   used for sending video files.

          235.   At the December 13, 2018 meeting with Everson, without Curtis’

   authorization or knowledge, the Defendants used Curtis’ AppleID to download the

   OneDrive application to her MAC2 computer.

          236.   Curtis did not provide her AppleID password to Defendants and was never

   told that OneDrive was going to be installed on her computer. She was under the

   impression that SharePoint was to be the cloud storage solution and that she would be in

   control of what documents she wanted to upload to SharePoint.

          237.   Below is a screen shot from Curtis’ MAC2 computer.




          238.   Within the OneDrive software, without Curtis’ authorization or knowledge,

   two folders were created entitled “Personal” and “Business1.”




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         239.   Below is a screen shot from Curtis’ MAC2 computer.




         240.   Without Curtis’ authorization or knowledge, the OneDrive’s synchronization

   function was set so that all of the content in both the Personal and the Business1 folders

   on Curtis’ MAC2 computer would be copied and uploaded to a Chasefield drive.




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         241.    Below are screen shots of log files from Curtis’ MAC2 computer.




         242.   After the December 13, 2018 meeting with Everson, later that evening after

   Curtis was home with her computers in her possession, her MAC2 computer, without

   Curtis’ authorization or knowledge, was remotely accessed at 6:58 p.m. and the OneDrive


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   application that was installed earlier in the day using her AppleID and password was

   deleted and another OneDrive application was uploaded and installed.

         243.      The new version of OneDrive was set to automatically open every time

   Curtis logged into her MAC2 computer. Additionally, Defendants selected to hide the

   OneDrive software on Curtis’ MAC2 computer when she logged into her the computer.

         244.      Below is a screen shot from Curtis’ MAC2 computer.




         245.      After the December 13, 2018 meeting with Everson, without Curtis’

   authorization      or   knowledge,     at   3:45    p.m.    the      software   program

   StellarPhoenixMacRecovery was downloaded and installed on Curtis’ MAC1 computer.

   This was well after Curtis left the Chasefield offices with her MAC1 and MAC2 computers.

         246.      The StellarPhoenixMacRecovery software was used to access all deleted

   files, photos, videos, and/or documents on Curtis’ personal MAC1 computer.




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          247.     At the December 13, 2018 meeting with Everson and afterwards, without

   Curtis’ authorization or knowledge, about thirty (30) folders were created on Curtis’ MAC2

   computer in order for various applications on the MAC2 computer to interact with other

   applications.

          248.     On January 4, 2019 at 2:19 p.m., Defendants, without Curtis’ authorization

   or knowledge, remotely accessed Curtis’ MAC2 computer and the application BlueJeans

   was secretly installed and hidden on Curtis’ MAC2 computer.

          249.     BlueJeans is a software program used for remote web video conferencing,

   similar to Zoom.

          250.     Below is a screen shot of a log file from Curtis’ MAC2 computer.




          251.     After downloading the BlueJeans software, without Curtis’ authorization or

   knowledge, Defendants created and scheduled a queue of “meetings.” On the same day,

   the settings of the BlueJeans software were deliberately changed so that when the


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   scheduled “meetings” occurred, access was granted to auto-select the computer’s

   camera (“FaceTime HD Camera”), the built-in internal microphone, and built-in internal

   speakers. The video capabilities within the application was deliberately set to “local video

   stream” so that Defendants could stream the video recordings of the scheduled

   “meetings.”

          252.   Curtis was not invited to nor aware of the scheduled meetings within the

   BlueJeans software.

          253.   On January 4, 2019, at 2:23 p.m., Defendants began secretly capturing

   video of Curtis through her MAC2 computer’s camera via the BlueJean software.

          254.   Below is a screen shot from Curtis’ MAC2 computer.




          255.   Furthermore, the device VirtualVideoCapture [BJN] was opened and

   enabled to be streamed and the device VirtualScreenCapture [BJN] was also opened and




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   enabled to be streamed. The video device was enabled to RenderLocalView to the

   drivername BJN.

          256.    On January 4, 2019, at 2:23 p.m., according to BlueJean log files,

   Defendant                     posted                    “messages”                     to

   postToClient@/users/luke/jenkins2/workspace/Furiosa_2.9.0-

   RZT4NGT4SN2SSME2CHEYO6ZV35WEVAZL3WGMCXKLJAE577W3Z6HQ/Carthage

   /Checkouts/app/sipmanager/skinnysipmanager.h:241.

          257.    Without Curtis’ authorization or knowledge, the “security profile” for the

   BlueJeans software was set up using Curtis’ email address julieadams@pakems.com.

          258.    After installing BlueJeans on January 4, 2019, Defendants began accessing

   the software the next day and repeatedly accessed BlueJeans on at least twenty (20)

   occasions over the next forty-five (45) days.

          259.    On several occasions, Defendants remotely accessed Curtis’ MAC2

   computer, without Curtis’ authorization or knowledge, to launch the BlueJeans software

   to secretly capture video of Curtis in the evening or at night. For example, Defendants

   used the BlueJeans software on January 17, 2019 at 9:27 p.m., January 27, 2019 at

   12:36 a.m., February 6, 2019 at 8:20 p.m., and on February 8, 2019 at 9:21 p.m. and 9:54

   p.m. On February 8, 2019, between the times Defendants used the BlueJeans software,

   which was at 9:21 p.m. and 9:54 p.m., at 9:53 p.m., Defendants modified the TeamViewer

   application.

          260.    During this time period, Curtis lived in a small apartment. Her office was

   located in her bedroom and the bathroom was attached to the bedroom. As stated above,

   Curtis was in the habit of always leaving her computer on and open. She never covered




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   the camera on her computers. Curtis used her bedroom to dress, undress and for private

   intimate moments. It is very likely that the videos and/or images taken by Defendants from

   Curtis’ computer would have captured Curtis nude and/or during those private intimate

   moments. Curtis is absolutely sickened, mortified, disgusted and repulsed thinking about

   Defendants’ unlawful and morally offensive actions.

          261.   On February 14, 2019 at 5:28 p.m., Defendants changed the

   CalendarAuthManagerStartListeningForInterAppCommunication application. At 6:17

   p.m., Defendants accessed the Calendar applications within her computer and created

   calendar events tied to the 214253806 account that Defendants created and hid in Curtis’

   iCloud account and scheduled “EventAllDay” meetings.

          262.   On December 20, 2018 at 8:38 p.m., April 26, 2019 at 9:32 a.m., May 12,

   2019 at 12:04 p.m., and on June 9, 2019 at 10:25 p.m., approximately 500 personal text

   messages sent to and from Curtis’ son’s iPhone were read. Unbeknownst to Curtis. these

   test messages were automatically saved on Curtis’ MAC2 computer because Curtis’ son’s

   iPhone was somehow tied to the MAC 2 computer.

          263.   Some of these text messages had been sent or received a year prior to

   when Chasefield Capital purchased Pakems Inc. and were from the time Curtis’ son was

   twelve and thirteen years old. These personal text messages included texts from Curtis,

   the boy’s father, his grandparents, his uncle, and his friends. Curtis’ son is aware of this

   invasion of his privacy and the other spying that occurred and no longer feels safe staying

   at Curtis’ house.

          264.   On June 11, 2019, Defendants were very busy with Curtis’ MAC2 computer.

   Defendants may have determined that they were going to fire Curtis as this day was seven




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   (7) days after Curtis told van Woudenberg and Matthews that she was in the hospital

   because of stress and twelve (12) days until she would be fired without warning on June

   24, 2019.

         265.   On June 11, 2019, Defendants, without Curtis’ authorization or knowledge,

   remotely accessed Curtis’ MAC2 computer and, specifically her personal WhatsApp

   account. Curtis used the WhatsApp software to send and receive text messages.

         266.    On June 11, 2019, Defendants, without Curtis’ authorization or knowledge,

   remotely accessed Curtis’ MAC2 computer and, specifically her Keeper Security

   Password account. Curtis used the Keeper Security Password software to securely save

   all of her personal passwords in one place.

         267.   On June 11, 2019, Defendants, without Curtis’ authorization or knowledge,

   remotely accessed Curtis’ MAC2 computer and, specifically her personal Skype account.

   Curtis used the Skype software for scheduling remote video conferencing meetings.

   Skype utilizes a computers’ camera and microphone.

         268.   On June 11, 2019 between 8:39 a.m. and 9:54 a.m., Defendants, without

   Curtis’ authorization or knowledge, remotely accessed Curtis’ MAC2 computer and made

   changes to the WhatsApp software, the Keeper Security Password software, and the

   Skype software on Curtis’ MAC2 computer.




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         269.   Below is a screen shot from Curtis’ MAC2 computer.




         270.   Later the same day, June 11, 2019 at 2:28 p.m. and 2:29 p.m., Defendants,

   without Curtis’ authorization or knowledge, retrieved data that was saved in the WhatsApp

   software, the Keeper Security Password software and the Skype software.




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         271.   Below are screen shots from Curtis’ MAC2 computer.




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         272.   In or about 2013, Curtis created a Skype account that she used for personal

   Skype calls and for business calls.

         273.   At the December 13, 2018 meeting with Everson, Everson installed the

   software program Skype for Business. Therefore, Curtis considered the Skype account


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   she created in or about 2013 her personal Skype account. Her personal Skype account

   identifier, or handle, was “julieadams303.”

          274.   From June 12, 2019 to June 17, 2019, Curtis did not have any remote

   meetings or calls that used required her to use her personal Skype account or the Skype

   for Business account. Being that Curtis’ personal Skype account had been set-up years

   prior, Curtis had no reason to be making changes to her personal Skype account during

   this time period.

          275.   However, on June 14, 2019 at 7:14 a.m., Defendants, without Curtis’

   authorization or knowledge, created a second Skype handle within Curtis’ personal Skype

   account entitled “live#3Ajulieadams_13.”

          276.   Below are screen shots from Curtis’ MAC2 computer.




          277.   It is extremely concerning that Defendants chose the specific naming

   convention for the newly created Skype handle. A Skype handle that has the word “live”


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   at the beginning indicates that the Skype handle is tied to an email address. Curtis’

   original account is tied to her telephone number. Defendants tied their newly created

   “live#3Ajulieadams_13” handle to an email address in an attempt to schedule meetings

   and access her computer camera and microphone and to conceal their actions. Recently,

   Curtis attempted to access the “live#3Ajulieadams_13” handle on Skype but it no longer

   exists which suggests that Defendants have since deleted this account.

         278.   Beginning on June 12, 2019, and continuing until June 17, 2019,

   Defendants, without Curtis’ authorization or knowledge, created and/or modified within

   the Skype software numerous folders, files, logs and plists files. Notably the first

   configuration changes made started on June 12, 2019 at 3:19 a.m.

         279.   Most alarming, Defendants, without Curtis’ authorization or knowledge,

   appear to have set up Skype meetings based on the folder they created within Skype

   called “webrtc_event_logs.”

         280.   Defendants’ creation of the Skype account and this folder suggests that

   Defendants would connect to Skype by logging into the Skype software through the

   Internet and use this account to capture video of Curtis.

         281.   Curtis was not invited to nor aware of these scheduled meetings within the

   Skype software.

         282.   On June 23, 2019, the day before Curtis was fired, Defendants, without

   Curtis’ authorization or knowledge, were very busy copying and collecting significant

   amounts of Curtis’ personal information. Defendants accessed numerous personal

   folders on Curtis’ MAC2 computer and accessed numerous non-business related

   software programs.




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         283.   For example, on June 23, 2019 at 9:57 a.m., Defendants, without Curtis’

   authorization or knowledge, accessed a hidden folder on Curtis’ MAC2 computer entitled

   “Mobile Documents.”

         284.   Below is a screen shot from Curtis’ MAC2 computer.




         285.   On June 23, 2019, the date before Defendants fired Curtis, there were

   numerous changes that Defendants made to Curtis’ MAC2 computer, without Curtis’

   authorization or knowledge, as evidenced by accessing folders and plist files that were

   created,   including,   but   not   limited   to,   CloudDocs,   com.apple.shoebox.plist,

   com.apple.mobilemail.plist,                             iCloud.com.google.container.plist,

   iCloud.com.microsoft.skype.teams.plist,                           com.apple.icloud_fmfd,

   com.apple.keyboardservicesd, and iCloud.com.apple.iBooks,iTunesU.plist.

         286.   Curtis was never told nor provided a policy that alerted her to the fact that

   her personal MAC1 and MAC2 computers would be remotely accessed, and she never



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   gave consent nor was she aware that her personal computers were being remotely

   accessed.

         287.   After the December 13, 2018 meeting with Everson, on an almost daily

   basis, Curtis spent an inordinate amount of time trying to accomplish simple tasks

   because her MAC2 computer was always out of memory or was crashing.

         288.   Curtis’ computer issues were caused by all of Defendants’ efforts to secretly

   spy on her and gain access to every bit of personal information that could be found or

   gleaned from her personal MAC1 and MAC2 computers, Curtis’ personal iPhone, her

   son’s personal text messages, and every single conversation or any other conduct that

   occurred in the “privacy” of her personal residence.

   E.    Defendants’ Unlawful Actions Did Not
         Cease After Curtis Was Terminated

         289.   Shortly after Curtis was terminated, she began noticing irregularities in her

   julieadamscurtis@yahoo.com email account and emails related to actions she knew

   nothing about.

         290.   For example, on or about July 27, 2019, Curtis discovered an email in her

   personal Yahoo email account that indicated that the security software company Webroot

   had been contacted and the message sent to them stated, “I am trying [to] open up

   Webroot.”




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         291.   Below is a screen shot from Curtis’ MAC2 computer.




         292.   Curtis did not contact Webroot, nor was she trying to open up Webroot on

   her computer.

         293.   Curtis was very alarmed that her personal email was somehow involved

   with Webroot and reached out to their customer care department. She learned that there

   had been a phone call made to Webroot and that the person who contacted Webroot had

   the audacity to give Webroot Curtis’ personal email address as if it was their own.

         294.   Furthermore, on July 13, 2019, when Curtis finished a run, she looked at

   her iPhone to turn off her music and there was a text message that someone was trying

   to use her AppleID.




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          295.   Below is a screen shot from Curtis’ personal iPhone.




          296.   This was very upsetting to Curtis because it was evidence Defendants were

   trying to use Curtis’ AppleID and password to hack into her personal iCloud or iTunes

   accounts. Recently, Curtis has discovered that Defendants were receiving these Apple

   ID Verification text messages with the login access codes because Defendants were able

   to turn on the Bluetooth on her computer and pair it with her personal iPhone.

          297.   About a week ago, Curtis’ old iPhone attempted to pair with her new Apple

   computer and she discovered that Defendants had changed the settings on her personal

   iPhone to automatically pair with her MAC2 computer.

          298.   When Curtis returned home after her run, there was evidence that made

   her believe that her MAC2 computer had been accessed without her authorization or

   knowledge. When Curtis left on her run, she was working on a Microsoft Word document

   entitled “Causes of Action Chasefield” that was created in anticipation of this litigation and

   covered by privilege because Cutis is an attorney.

          299.   However, what was open on her MAC1 computer was her newly created

   personal Dropbox account.



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         300.   Below is a screen shot from Curtis’ MAC2 computer.




         301.   Curtis checked to determine if Microsoft Word had somehow quit or crashed

   and was therefore the cause of the different window open. Microsoft Word was still

   running.

         302.   That day, July 13, 2019, Curtis spent the next several hours trying to figure

   out what was going on with her MAC1 and MAC2 computers and whether Defendants

   were truly accessing her computers – which was something she did not want to be true.

   She was already devastated by the fact she had been fired from the company she

   founded, and now she was feeling stalked by these same men.

         303.   Curtis did not know where to begin trying to figure out what was going on or

   how to prove Defendants were accessing her computer, so she just started taking screen

   shots of her computer to see if something raised a red flag.




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         304.   One screen shot Curtis took on July 13, 2019 at 6:47 p.m. was of the

   applications on her MAC2 computer.

         305.   Below is a screen shot from Curtis’ MAC2 computer.




         306.   This screen shot indicated on the bottom row of icons that on July 13, 2019,

   the security software Webroot was an application on Curtis’ MAC2 computer.

         307.   Not only had her computers become her nemesis, but Defendants’ attempts

   to access accounts meant Curtis was constantly getting text notifications on her iPhone

   related to Defendants attempts to hack into various accounts.

         308.   For example, on June 26, 2019, two (2) days after Curtis was terminated,

   she received a notification on her personal iPhone that Google blocked Defendants from




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   signing in with the password for the email account pakemskickstarter@gmail.com. This

   was not Curtis as she had no reason or desire to log into this email account.

         309.   Again, on July 29, 2019, Curtis received notification on her personal iPhone

   that Google blocked Defendants from signing in with the password for the email account

   pakemskickstarter@gmail.com.

         310.   And, yet again on July 31, 2019, again, much to Curtis’ annoyance, she

   received another notification that Google blocked Defendants from signing in with the

   password for the email account pakemskickstarter@gmail.com.

         311.   When Curtis investigated the July 31, 2019, log in attempt, she was able to

   capture the IP address for the computer that was attempting to log into this email account.

   The IP address was 71.218.51.224.

         312.   Below is a screen shot from Curtis’ MAC2 computer.




         313.   This was actually the IP address of Curtis’ computers used in her house;

   thus, indicating that Defendants had hacked into her MAC1 or MAC2 computer on July




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   31, 2019, more than a month after Defendants fired her, and were using her computer to

   try to log into the email account pakemskickstarter@gmail.com.

         314.   During this period in time after Curtis was fired from Pakems, Curtis’

   thoughts were filled with trying to stay one step ahead of Defendants and was so upset

   by what they were doing to her. Curtis wanted to determine how to keep Defendants out

   of her MAC1 and MAC2 computers and it just did not seem like she was able to do this.

   By then, she had changed all of the passwords to all of her accounts and to her computer,

   but nothing seemed to be effective, and she was seeing so many things going on with her

   computers that were suspicious.

         315.   On August 10, 2019, Curtis checked to see if Webroot was still on her

   computer. Curtis went to her loathed computer and checked the applications on her

   computer. Much to her surprise, disgust, and fright, the Webroot application was no longer

   on her computer.




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         316.   Below is a screen shot from Curtis’ MAC2 computer.




         317.   Curtis called Webroot to ask how a Webroot application could be removed

   from her computer and the customer service person stated that the only way it could be

   removed was by someone physically being in her computer and uninstalling it.

         318.   After discovering this and after seeing so much suspicious activity, Curtis

   started making sure she was more deliberate with her investigation into her MAC1 and

   MAC2 computers.

         319.   At that time is when Curtis started making sure that she shut down all

   applications on her computer before going to bed so when she saw an application was

   opened the next time she got on her computer, she was certain it was not something that

   had been opened by her.


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          320.     Also, because Curtis did not know how Defendants were accessing her

   MAC1 and MAC2 computers, she thought quitting all applications at night before going to

   bed would somehow “kick” Defendants out of her computers and Defendants could not

   “do things” to her computers when she was asleep.

          321.     One night, when Curtis was ready to call it quits for the day of trying to

   determine what was going on with her MAC1 and MAC2 computers, she took a screen

   shot of the computer’s request whether she really wanted to quit all computer

   applications.

          322.     On August 14, 2019, at 11:31 p.m., she took a screen shot of this before

   clicking the button to quit all computer applications.

          323.      Below is a screen shot from Curtis’ MAC2 computer.




          324.     Next, Curtis went to the Terminal Application to see if Defendants were still

   logged into her computer – by this time she had noticed a “ttys000” in the terminal logs




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   and her research informed her that this indicated there was someone else “networked”

   into or connected to her computer.

         325.   Below is a screen shot from Curtis’ MAC2 computer.




         326.    The next morning, Curtis logged into her computer at 6:40 a.m.

         327.   When Curtis logged into her MAC2 computer, the first screen that popped

   up showed that the “Audio Devices” settings were open.




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          328.    Below is a screen shot from Curtis’ MAC2 computer.




          329.     This was especially alarming to Curtis because she knew that she closed

   out of all applications before she went to bed. What else was especially mortifying to her

   was that the word “audio” was in the name of this setting. The first thing that crossed her

   mind was whether this meant “listening” and could this mean that Defendants were

   listening to her.

          330.    Curtis began researching what this setting was used for and discovered that

   it could be used with allowing her computer to dictate what was spoken into the computer

   or what was showing on the computer screen.

          331.    Next, Curtis looked at the “Recent Items” that had been opened on her

   computer and the last applications opened were Audio MIDI Setup.app, Digital Color

   Meter.app, Disk Utility.app, Keychain Access.app, Microsoft Error Reporting.app,

   Safari.app, System Preferences.com, Terminal.app, and VoiceOver Utility.app.




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          332.    Below is a screen shot from Curtis’ MAC2 computer.




          333.    Curtis began researching all of these applications on her computer. She

   kept taking screen shots of what she discovered.

          334.    The System Information.app was last opened at 12:14 a.m., after she went

   to bed.

          335.    The Digital Color Meter.app showed it was opened at 12:14 a.m. after she

   went to bed.

          336.    The Desk Utility.app was opened at 12:11 a.m. after she went to bed.

          337.    The Audio MIDI Setup.app was last opened at 12:08 a.m. after she went to

   bed.

          338.    The Keychain Access.app was opened at 12:03 a.m. after she went to bed.

          339.    The Terminal.app showed opened at 11:47 a.m. which made sense to

   Curtis because she knew she opened this application right before she went to bed.


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          340.   The Voice Over Utility.app was opened at 11:49 a.m. after she went to bed.

          341.   What all this meant was unknown to Curtis until very recently.

          342.   Upon understanding and belief, it became too expensive for Defendants to

   hire out someone or too time consuming for Defendants to continually spy on Curtis

   waiting for her to do something interesting in front of her computer or for her to have an

   interesting conversation around her computer with her son, ex-husband, brother, mom or

   dad, lawyers, or friends.

          343.   Therefore, Defendants changed settings on her MAC2 computer to get the

   information they wanted in a different way. Defendants changed the settings on Curtis’

   MAC2 computer so that every word spoken in front of her MAC2 computer would be typed

   out for Defendants to read at a later time and for everything on her screen to be typed out

   for Defendants to read at a later time.

          344.   Curtis discovered the Preferences folder in the hidden “bodiecurtis” library

   on her computer that not only was the Voice Over Utility application opened on her

   computer, but Defendants enabled the trackpad and set the default preference for the

   audio output selection device to be in “braille” mode.




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          345.   Below is a screen shot from Curtis’ MAC2 computer.




          346.   Defendants then changed the System Preference settings for the display

   on her computer to default to “Airplay.” This allows for videos to be shared and is a way

   to mirror your entire computer screen. Another plist file shows that Defendants created a

   cache to “show braille verbosity detail.”




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         347.   Below is a screen shot from Curtis’ MAC2 computer.




         348.   Later that morning, on August 15, 2019 at 7:11 a.m., a change was made

   to a plist file created at 12:08 a.m. that same morning to change the order of the windows

   on Curtis’ MAC2 computer.




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          349.   Below is a screen shot from Curtis’ MAC2 computer.




          350.   The lazy and cheap man’s spying mechanism was now in place to continue

   Defendants’ violation into Curtis’ entire personal life. Her company was now theirs, and

   so was the only thing she thought she had left that belonged to her – her privacy – but

   that was gone now, too. Defendants left her penniless and completely exposed –

   everything she had worked so hard to accomplish in her life and with Pakems was no

   longer hers – Defendants destroyed Pakems and Curtis’ private life became something

   for them to listen to, then judge, pick apart, discuss and spit out.

          351.   On August 29, 2019, Curtis discovered another outrageous thing that

   Defendants had done to her. When she turned on her MAC1 computer, she saw a window

   indicating that the computer had been copied via Passport for Mac sixty-six days prior.

   This was perplexing to her since this was her older Macintosh computer and she did not

   have a reason to save it, nor did she save it.



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         352.    Sixty-six days prior to when Curtis saw this on her MAC1 computer was

   June 23, 2019, the day before she was fired.

         353.    Below is a screen shot from Curtis’ MAC1 computer.




         354.    Unfortunately for Curtis, Defendants remotely saved a copy of Curtis’ MAC1

   computer using Passport for Mac. Seven (7) years of her personal life were stolen with

   the click of a single computer button and was now in the uncleans hands of the

   Defendants.

         355.    Upon information and belief, Defendants would have preferred to have just

   copied the entire MAC2 computer, but unfortunately for them (upon information and

   belief), because of everything they had manipulated on that computer, there was not

   enough memory to copy it so they had to painstakingly go through individual files to view

   them, copy them, and send them.

         356.    After Curtis was terminated, not only did Defendants gain unauthorized

   access to Attorney/Client Privileged documents, Defendants gained unauthorized access

   to, at least, Attorney/Client Privileged emails, screen shots of her investigation into

   unauthorized accessing her personal computers and personal accounts, YouTube videos

   she had watched, Google searches she had done, downloads of her personal financial



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   information, photos and videos from her iPhone that were taken after she was terminated,

   and additional email accounts she created after she was terminated.

   F.    Defendants’ Unlawfully Accessed Curtis’ Personal Accounts
         Before the Deal with Chasefield Capital Was Done, While She
         Was CEO of Pakems, and After She was Fired

         357.   Upon information and belief, an individual believed to be one or more of the

   Defendants, guessed passwords for Curtis’ personal accounts, guessed the password to

   access the Keeper Security application that had her personal passwords, accessed the

   notes in the Notes application on her personal iPhone that Everson reconfigured to send

   to julieadamscurtis@yahoo.com that contained personal passwords, obtained passwords

   by monitoring her email account and text messages on her iPhone, passed along

   passwords that were given for other legitimate business reasons, exceeded their authority

   when they used passwords that were given for legitimate business reasons, and/or

   exceeded authorization when they accessed Pakems accounts, in order to access Curtis’

   personal accounts.

   1.    Defendants’ Unlawfully Access Curtis’ Personal Account
         Prior to Chasefield Capital’s Purchase of Pakems Inc.

         358.   Upon information and belief, Pine guessed the password and accessed the

   julieadams@pakems.com email account hosted by GoDaddy, including Attorney/Client

   Privileged communications and other investment offers that were being considered by

   Curtis, prior to October 26, 2018, to gain an unfair negotiation advantage in regard to

   Curtis’ employment and the sale of Pakems.

         359.   An individual believed to be one or more of the Defendants, without Curtis’

   authorization or knowledge, attempted to sign in and use Curtis’ password for the




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   personal email account julieadamscurtis@gmail.com on September 16, 2018 at 9:38

   p.m., September 19, 2018 at 7:28 a.m., and September 19, 2018 at 6:53 p.m.

         360.   Below is a screen shot from Curtis’ MAC2 computer.




         361.   Curtis had forgotten that this account was ever created as it had been

    created in 2008 and Curtis never sent emails from this account. The recovery email for

    this account is julieadamscurtis@yahoo.com so an email had been sent to this account

    when the original julieadamscurtis@gmail.com had been set up.

   2.    Defendants’ Unlawfully Access Curtis’ Personal
         Account While She Was Employed As CEO of Pakems

         362.   On December 4, 2018, an individual believed to be one of the Defendants,

   without Curtis’ authorization or knowledge, accessed Curtis’ personal Facebook account

   and changed the primary email for Facebook notifications to julieadams@pakems.com

   so the notifications went to an email account Defendants were monitoring.




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         363.   Below is a screen shot from Curtis’ MAC2 computer.




         364.   On December 17, 2018, Jordan Pine provided the GoDaddy account

   password to Everson so that he could fix an issue with contact@pakems.com and

   support@pakems.com. Unfortunately, the password was used to do a lot more than repair

   the issue with these two email accounts.

         365.   On December 17, 2018, at 2:17 p.m., the julieadams@pakems.com email

   account was accessed, without Curtis’ authorization or knowledge, and the DNS settings

   were changed so that Curtis’ entire email account which contained over 113,482 emails

   dating back to 2013, including thousands of personal emails and Attorney/Client

   privileged emails, were downloaded to Chasefield Capital’s Microsoft 365 account with

   the IP address 104.47.40.36. Thousands of personal emails were opened and read by

   one or more of the Defendants.




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         366.   Below is a screen shot from Curtis’ MAC2 computer.




         367.   However, the other GoDaddy email accounts support@pakems.com,

   contact@pakems.com, info@pakems.com, and jackadams@pakems.com were not

   downloaded to Chasefield Capital’s Microsoft 365 account.

         368.   One or more of the Defendants began monitoring the email account

   julieadams@pakems.com and read emails. Within the Chasefield Capital OneDrive folder

   that Curtis discovered on her computer, there are several attachments to emails that

   Curtis sent or received, however, these emails were not sent to anyone at Chasefield

   Capital. Thus, the only way they would have downloaded these attachments and then

   uploaded them to the Chasefield Capital OneDrive is from reading all of the Curtis’ emails

   and giving themselves access to various attachments.

         369.   On February 5, 2019, February 22, and March 23, 2019, one or more of the

   Defendants, without Curtis’ authorization or knowledge, changed the password to Curtis’

   personal email account julieadamspakems@gmail.com to gain access to and intercept

   emails in this email account.


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         370.   Below is a screen shot from Curtis’ MAC2 computer.




         371.   After Defendants changed the email account password on February 5,

    2019, Curtis sent a text message to Angela Miles stating “My password was changed 3

    days ago – weird. I’m getting emails now. I got it. Thanks.”

         372.   After Defendants again changed the password on March 23, 2019, an email

    sent to this account stated that the new sign-in was from Microsoft Edge on Windows.

    Curtis did not own a device that was on a Windows platform. Whenever Curtis was forced

    to change the email account password because Defendants changed the password to

    the account and her password no longer worked, one or more of the Defendants would

    go into the account and change it to a password only they knew in order to continue

    accessing and intercepting emails in that account.



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         373.      On or about February 11, 2019, one of the Defendants, without Curtis’

    authorization        or     knowledge,    changed       the   IMAP       settings     in    the

    julieadamspakems@gmail.com personal Gmail account so that new sent and received

    emails would go to Defendant’s Microsoft 365 Outlook account and be intercepted.

         374.      Below is a screen shot from Curtis’ MAC2 computer.




         375.      On or about February 11, 2019, one of the Defendants, without Curtis’

   authorization    or        knowledge,   changed    the   password   and     settings    to   the

   jadams@apresgear.com personal Gmail account. Defendants also changed the POP

   settings so that all of the emails in that account since November 15, 2012 were

   downloaded to Defendant’s Microsoft 365 Outlook account. Defendant also changed the

   IMAP settings so that any new emails sent or received would be intercepted. The change

   to the IMAP settings prevented emails from going into the jadams@apresgear.com email

   account from February 11, 2019 through August 1, 2019. This means that Defendants

   intercepted Curtis’ emails from June 25, 2019 through August 1, 2019, which was after




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   Curtis’ termination. There are 20,954 emails in that account, including thousands of

   personal emails.

         376.   One of the Defendants, without Curtis’ authorization or knowledge,

   accessed her jadams@apresgear.com Gmail account, went to the Contacts tab, selected

   the contact information for Curtis, and added the nickname “Stupid” to her contact.

         377.    Below is a screen shot from Curtis’ MAC2 computer.




         378.   This is why Curtis’ name on sent emails from julieadamscurtis@yahoo.com

   changed from her name to Stupid on her iPhone.

         379.   Defendants have tried to go to great lengths in an effort to hide the identity

   of those that accessed her personal Google accounts, personal Facebook account, her

   personal Yahoo account and her computers. There are several log ins from Comcast and

   Verizon accounts (neither one is a provider used by Curtis) and several other providers,

   such as University Corporation Atmospheric Research, Micfo, Denver Cloud Network,

   Global Telehost, and Internet Systems Consortium. Further, several IP address locations

   are in Greenwood Village, Boulder, Broomfield, Westminster and Littleton. Subpoenas


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   that will be issued will identify the information necessary to reveal the identity of those

   that hacked into Curtis’ personal accounts and into her computers.

          380.   There are several IP addresses that have logged into the email account

   julieadamscurtis@yahoo.com that do not appear to be from Curtis’ residence and are

   showing in her email account as suspicious logins. During the time period in question,

   there were hundreds of thousands of emails in this account.

          381.   Below is a screen shot from Curtis’ MAC2 computer.




   3.     Defendants’ Unlawfully Access Curtis’
          Personal Account After She Was Terminated

          382.   On July 13, 2019, at 12:01 p.m., Curtis received an “AppleID verification”

   notification on her iPhone that requested that she enter her AppleID so that her iCloud or

   iTunes account could be accessed. Curtis had been on a run so this was not her trying to

   access either her iCloud or iTunes accounts.

          383.   On September 19, 2019, at 2:30 p.m., Curtis was preparing for a job

   interview when she received an email that a password reset was requested and a request

   to recover her julieadamspakems@gmail.com personal email account. This was

   extremely upsetting to Curtis that they were still trying to access her personal accounts




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   and was a major distraction right before a very important job interview with a large Denver

   law firm. Curtis did not get the job.

          384.   On October 24, 2019, Curtis was on a business trip after finally procuring

   employment. She was alarmed when she got a notification on her cell phone stating “Did

   you ask Google to recover access for julieadamspakems1@gmail.com.

          385.   Below is a screen shot from Curtis’ personal iPhone.




          386.   By this point, she had a new iPhone because of what she discovered was

   occurring and she feared Defendants could still access everything that was on that cell

   phone. But Curtis needed something off of her old iPhone so she turned it on. She was

   able to access this email and discovered that at 8:11 a.m. on October 24, 2019,

   Defendants attempted to change the password and recover the personal email account

   julieadamspakems1@gmail.com.




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         387.   Below is a screen shot from Curtis’ MAC2 computer.




         388.   There was an email sent to julieadams@pakems.com in 2013 that was in

   her GoDaddy account and subsequently downloaded to Chasefield Capital’s Microsoft

   365 account stating that this email account was created. Curtis had forgotten that this

   account was ever created.

         389.   Below is a screen shot from Curtis’ computer.




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         390.    One of the Defendants, without Curtis’ authorization or knowledge,

   accessed Curtis’ personal iCloud account and connected their device to this account.

         391.    Below is a screen shot from Curtis’ MAC2 computer.




         392.    On December 19, 2019, almost six (6) months after Curtis was terminated,

   she discovered that a suspicious device was connected to her iCloud account. She locked

   the device and provided a phone number for the owner of the devise to call. Later that

   day, a telephone call was received from a blocked telephone number, but the caller

   immediately hung up. Upon information and belief, one or more of the Defendants were

   linked to her iCloud account after she was terminated and had access to personal

   documents, photos, and videos that were created or taken after she was terminated.

         393.    On January 4, 2020, Defendants used the Internet Service Provider Internet

   Systems      Consortium    to    hack    into    Curtis’   personal    email     account

   julieadamscurtis@yahoo.com.

         394.    While Defendants were in her account, they researched how to remove

   unusual activity in her Yahoo account as recorded in a Yahoo log entry “/kb/account/find-

   remove-unusual-activity-yahoo-account-sln2073.html”.


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          395.     Below is a screen shot from Curtis’ MAC2 computer.




          396.    Defendants received a Preservation of Evidence letter immediately after

   they fired Curtis. Therefore, Defendants’ egregious spoliation of evidence in Curtis’ own

   personal account, in an effort to hide their unlawful behavior after they were under a legal

   obligation not to destroy evidence, is problematic to Defendants’ and their potential

   available defense of this litigation. Curtis will request a spoliation of evidence instruction

   to the jury at the time of trial.

          397.    Almost eight (8) months after Curtis was terminated, on February 28, 2020,

   she was with her friends in Steamboat Springs, Colorado when she received a notification

   on her new cell phone with a security code for her personal PayPal account.




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         398.   Below is a screen shot from Curtis’ personal iPhone.




         399.    A couple days later, on March 2, 2020, she received a notification on her

   old cell phone with a security code for her personal PayPal account.

         400.   Below is a screen shot from Curtis’ personal iPhone.




         401.   Curtis tried to recreate how this occurred. In order for PayPal to send this

   notification, Defendant needed to input both of her cellular telephone numbers into the

   PayPal website. Thus, Defendants were attempting to hack into her personal PayPal

   accounts. This was extremely upsetting to Curtis that they were continuing to stalk her

   through every means they could think of.




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         402.   Plaintiff’s personal accounts Facebook, iCloud, Keeper Security, PayPal,

   Skype, and WhatsApp that were accessed by one or more Defendants will be referred to

   as “Personal Accounts.”

         403.   Plaintiff’s email accounts julieadamscurtis@yahoo.com hosted by Yahoo,

   jadams@apresgear.com hosted by Google, julieadamspakems@gmail.com hosted by

   Google,        julieadamspakems1@gmail.com              hosted         by        Google,

   julieadamscurtis@gmail.com hosted by Google, julieadams@pakems.com hosted by

   GoDaddy and Microsoft, and Julie.adams7@iclod.com hosted by Apple, that were

   accessed, attempts made to access, and or downloaded by one or more of the

   Defendants, will be referred to as “Email Accounts.”

         404.   All of the conduct related to her personal computers, personal cell phone,

   accessing her Personal Accounts, accessing, downloading and monitoring her Email

   Accounts, attempts to access her Personal Accounts and Email Accounts will be referred

   to as “Computer-Related Conduct.”

   G.    Financial Impact of the Unlawful Computer
         Activities and Access to Curtis’ Personal Accounts

         405.   After Plaintiff was fired, she spent several months and thousands of hours

   investigating and is continuing to investigate the Computer-Related Conduct, including

   but not limited to looking at her personal computers and iPhone, taking screen shots on

   all of her devices, talking to customer service departments at various companies where

   her accounts reside, hiring a computer expert, talking to individuals in law enforcement,

   talking to lawyers, writing Preservation of Evidence letters to the various companies,

   changing all of the passwords to all of her accounts, purchasing paper, purchasing printer




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   ink, etc. This resulted in significant lost wages and costs, and costs that Curtis is still

   incurring.

          406.   Plaintiff was forced to borrow computers and from various people and buy

   a used laptop because her computers were still being accessed and she can no longer

   use her MAC1 and MAC2 computers because they can still be accessed by Defendants.

   The camera light on her MAC2 computer no longer comes on when an application is using

   the camera. This is something that the Defendants turned off so that Curtis would not

   know she was being stalked. One night the camera light on her MAC2 came on suddenly

   and then went off. This must have been the time when they disabled the light.

          407.   Plaintiff was forced to buy a new iPhone and get a new cell phone number

   after 22 years of having the same number.

          408.   These costs are well over $5,000.

   H.     Chasefield Capital Treated Lever Up and Pakems As Parts
          of Chasefield Capital and Not As Separate Companies

          409.   Chasefield Capital employees had carte blanch access to Pakems’ bank

   account and could write checks without approval. They wrote themselves checks, hired

   vendors such as Pine’s nephew who was a lawyer and accountants, and paid them, all

   without approval from Curtis, van Woudenberg, or Matthews.

          410.   Funds were frequently transferred between Chasefield Capital’s, Lever

   Up’s, and Pakems’ bank accounts.

          411.   Despite Pine’s assertions in a budget he created and presented to Curtis

   and van Woudenberg that Chasefield Capital’s management fees during a three (3)

   month period would be $1,250, Chasefield Capital created an invoice and immediately




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   transferred funds to the Chasefield Capital bank account, without approval, for $9,000 for

   three (3) months of Chasefield Capital management services.

             412.   Chasefield Capital’s IT contractor was hired by Chasefield Capital to put

   spyware on Curtis’ personal computers and paid by Chasefield Capital out of Pakems

   bank account, and then later paid directly by Chasefield Capital.

             413.   Chasefield Capital was not made to pay Pakems back when Curtis

   uncovered the fact that it owed Pakems approximately $9,000.

             414.   At her termination meeting, she was given an Option Agreement whereby

   she learned that van Woudenberg had an additional 304 shares of common stock related

   to his additional investment. At that time, Curtis was on the Board of Directors, however,

   there was not a board meeting held to vote on the granting of the additional shares.

             415.   Chasefield Capital owned the Chasefield Capital computers used to access

   Curtis’ computers, the Microsoft 365 account, and upon information and belief, paid for

   the BlueJeans account that was used to commit the Computer-Related Conduct against

   Curtis.

             416.   Chasefield Capital employees were either the individuals involved with the

   Computer-Related conduct or directed it to be done, including the most egregious conduct

   of using TeamViewer to spy on her, downloading BlueJeans to her personal computer so

   that they could watch her and listen to her in her own residence, configuring her Skype to

   do the same and then changing the settings on her computer to type what she said and

   what was on her computer.

             417.   Pakems was inadequately capitalized.

             418.   On March 21, 2019, Pine sent an email to Everson stating,




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                 “Hi Seth – please disconnect Chasefield internal drives and separate
                 Pakems as its own entity as of 4.15.2019. Contact Julie as to how she wants
                 to handle IT she may choose someone else or no one.”

          419.   This shows that Chasefield Capital and Pakems were considered as one

   entity and Chasefield Capital, as well as Chasefield Real Estate, LLC, van Woudenberg

   and Pine, was an alter ego of Pakems. This disconnection never occurred.


                                   VI. CLAIMS FOR RELIEF

                                       CLAIM I
          (Violation of the Stored Communications Act (SCA) (18 U.S.C. § 2701)

          420.   Plaintiff hereby incorporates and restates all allegations contained in

   Paragraphs 1 - 419 of this Complaint as though fully incorporated herein.

          421.   Defendants intentionally and knowingly accessed Plaintiff’s password

   protected Email Accounts and Personal Accounts that were on servers owned by Google,

   GoDaddy, Microsoft, Yahoo, Apple, Facebook, WhatsApp, and two personal computers

   which are facilities through which electronic communication services are provided.

          422.   By accessing the various facilities, without authorization or in excess of

   authorization by Curtis, Defendants obtained, altered, and/or transferred a wire or

   electronic communications while in electronic storage, including but not limited to, reading

   personal and Attorney/Client emails, viewing personal photos, viewing personal videos,

   viewing personal documents, reading iMessages, viewing posts and messages in

   Facebook, transferring and directing emails to be downloaded so that they could be read

   in violation of the provisions of 18 U.S.C. § 2701.

          423.   Curtis has been seriously damaged as a direct and proximate cause of the

   Defendants’ unauthorized access or access in excess of authorization in the Email

   Accounts and Personal Accounts in violation of the provisions of 18 U.S.C. § 2701.


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         424.   Through Defendants’ actions set forth above, Plaintiff suffered actual

   damages in an amount to be determined at trial, which includes, but is not limited to, an

   unfair advantage in the negotiation of the purchase of Pakems and the contracts related

   to the employment of Curtis, loss of Attorney/Client confidentiality in the negotiation of

   Pakems and in this pending litigation, the contracts relating to the employment of Curtis,

   a factor in the hostile work environment that Curtis was subjected to and the decision to

   terminate her employment, and the thousands of hours spent investigating the

   unauthorized access into Plaintiff’s Personal Accounts and Email Accounts.

         425.   Through Defendants’ actions set forth above, Plaintiff is also entitled to

   statutory damages pursuant to 18 U.S.C. § 2707 of $1,000 for every email, document,

   photo and video accessed; punitive damages; reasonable attorneys’ fees and costs; and

   all such other and further relief as the court may deem just and equitable.



                                           CLAIM II
      (Violation of the Federal Wiretap Act (FWA) 18 U.S.C. § 2511 and § 18 U.S.C. §
                                           2520)

         426.   Plaintiff hereby incorporates and restates all allegations contained in

   Paragraphs 1 - 425 of this Complaint as though fully incorporated herein.

         427.   Through Defendants’ actions set forth above, Defendants knowingly,

   purposefully and intentionally participated in, directed, and were aware of the actions

   taken for the purpose of intercepting, endeavoring to intercept, or procured another

   person to intercept or endeavor to intercept wire, oral, or electronic communications, at

   the time of transmission in violation of the provisions of 18 U.S.C. § 2511, including, but

   not limited to, intercepting emails sent to and from julieadams@pakems.com,



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   jadams@apresgear.com,                     julieadamspakems@gmail.com                       and

   julieadamscurtis@yahoo.com, intercepting iMessages on Curtis’ MAC2 computer,

   intercepting photos, videos, and documents that were sent to Curtis’ Apple iCloud account

   and intercepting photos, videos, and text messages that were on Curtis’ personal iPhone.

          428.   Through Defendants’ actions set forth above, Defendants knowingly,

   purposefully and intentionally participated in, directed, and were aware of the actions

   taken for the purpose of intercepting, endeavoring to intercept, or procured another

   person to intercept or endeavor to intercept wire, oral, or electronic communications, in

   violation of the provisions of 18 U.S.C. § 2511, including, but not limited to, by using Curtis’

   computers and the software thereon, as eavesdropping devices to intercept, and/or retain

   recordings of Curtis, via the camera, microphone and speakers on Curtis’ computer, to

   watch Curtis and listen to Curtis while in her personal residence and in her bedroom likely

   capturing Curtis nude and/or during private intimate moments.

          429.   Through Defendants’ actions set forth above, Defendants intentionally

   disclosed, or endeavored to disclose, to any other person the contents of any wire, oral,

   or electronic communication, knowing or having reason to know that the information was

   obtained through the interception of a wire, oral, or electronic communication in violation

   of the provisions of 18 U.S.C. § 2511.

          430.   Through Defendants’ actions set forth above, Defendants intentionally

   used, or endeavored to use, the contents of any wire, oral, or electronic communication,

   knowing or having reason to know that the information was obtained through the

   interception of a wire, oral, or electronic communication in violation of the provisions of

   18 U.S.C. § 2511.




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          431.   Curtis has been seriously damaged as a direct and proximate cause of the

   Defendants’ actions set forth above that violate the FWA.

          432.   Through Defendants’ actions set forth above, Plaintiff suffered actual

   damages in an amount to be determined at trial, which includes, but is not limited to loss

   of Attorney/Client confidentiality in the this pending litigation, a factor in the hostile work

   environment that Curtis was subjected to and the decision to terminate her employment,

   and the thousands of hours spent investigating the interception that occurred.

          433.   Through Defendants’ actions set forth above, Plaintiff is also entitled to

   statutory damages pursuant to 18 U.S.C. § 2520; punitive damages due to the willful and

   wanton, reckless and malicious misconduct of Defendants; reasonable attorneys’ fees

   and costs; and all such other and further relief as the court may deem just and equitable.


                                       CLAIM III
       (Violation of the Computer Fraud and Abuse Act (CFAA) (18 U.S.C. § 1030)

          434.   Plaintiff hereby incorporates and restates all allegations contained in

   Paragraphs 1 - 433 of this Complaint as though fully incorporated herein.

          435.   Curtis’ computers and iPhone are protected computers as that term is

   defined in the CFAA.

          436.   Through Defendants’ actions set forth above, Defendants knowingly and

   intentionally conspired to access Plaintiff’s personal computers and synchronize her

   personal iPhone to her MAC1 and/or MAC2 computers without authorization or exceeding

   authorization, and obtained information from these devices and knowingly caused the

   transmission of a program, information, code, or command, and as a result of such

   conduct, intentionally caused damage without Plaintiff’s authorization to her computers




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   and personal iPhone, and intentionally accessed her computers and personal iPhone

   without her authorization, in violation of the provisions of 18 U.S.C. § 1030, and as a result

   of such conduct, caused damage and loss or recklessly caused damage well in excess

   of $5,000 over the year prior to the filing of this complaint.

          437.   The remote hack into Curtis’ computers in violation of the provisions of 18

   U.S.C. § 1030, allowed the Defendants to obtain information they were not entitled to,

   including, but not limited to, very personal and sensitive information, by watching her

   through the camera on her computer in her own residence in her bedroom likely capturing

   Curtis nude and/or during private intimate moments, listening to her conversations

   through the microphone on her computer in her own residence, configuring her computer

   to type what was said around her computer or on the computer screen, accessing her

   iMessages on her MAC2 computer, accessing her WhatsApp and Skype accounts,

   accessing her text messages on her personal iPhone, and gaining access to Curtis’ Apple

   iCloud account that contained personal documents and photos and videos that were on

   Curtis’ personal iPhone.

          438.   Curtis has been seriously damaged as a direct and proximate cause of the

   Defendants’ actions set forth above that violate the CFAA.

          439.   Through Defendants’ actions set forth above, Plaintiff suffered actual

   damages in an amount to be determined at trial, which includes, but is not limited to loss

   of Attorney/Client confidentiality in the this pending litigation, a factor in the hostile work

   environment that Curtis was subjected to and the decision to terminate her employment,

   and the thousands of hours spent investigating the interception that occurred.




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          440.   Through Defendants’ actions set forth above, Plaintiff is also entitled to

   compensatory damages; reasonable attorneys’ fees and costs; and all such other and

   further relief as the court may deem just and equitable.


                                         CLAIM IV
                     (Invasion of Privacy – Intrusion Upon Seclusion)

          441.   Plaintiff hereby incorporates and restates all allegations contained in

   Paragraphs 1 -440 of this Complaint as though fully incorporated herein.

          442.   Plaintiff had a justifiable expectation of privacy of what occurred in her own

   residence and expected that she was not being watched and listened to in her own

   residence and in her bedroom, during all hours of the night and day, likely capturing Curtis

   nude and/or during private intimate moments.

          443.   Plaintiff had a justifiable expectation of privacy of the content in:

           (a)   her Email Accounts, especially when Everson emphasized that the email

                 account julieadams@pakems.com was password protected,

           (b)   her iCloud account that contains photos and videos from her cell phone,

           (c)   the personal documents, photos, and videos on her personal MAC1 and

                 MAC2 computers,

           (d)   documents on her personal iPhone,

           (e)   texts on her personal cell phone, including personal information in the Notes

                 application,

           (f)   her Internet searches, and

           (g)   messages that were sent via WhatsApp and Skype.




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          444.   Through Defendants’ actions set forth above, Defendants knowingly and

   intentionally conspired to intrude upon Plaintiff’s solitude and her private affairs.

          445.   The intrusions by Defendants were and are substantial and of the kind that

   would be highly offensive to the ordinary reasonable person and the intrusions were and

   are extremely offensive to Plaintiff.

          446.   Plaintiff did not consent to the intrusions and did not have knowledge at the

   time of what Defendants were doing to her.

          447.   Whatever purpose Defendants had for invading her privacy was

   unwarranted and continued after she was fired.

          448.   It was foreseeable that the intrusions could result in severe and permanent

   emotional distress, embarrassment, personal humiliation, mental anguish and suffering,

   physical suffering, loss of income, loss of security, and impairment to the Plaintiff’s

   reputation.

          449.   As a direct and proximate result of the intrusion of seclusion and invasion

   of privacy by Defendants van Woudenberg, Pine, Matthews, Everson, Beiers, Jordan

   Pine, and John Does 1 – 10, Curtis has suffered and continues to suffer from, including

   but not limited to, extreme and permanent emotional distress, mental anguish, harm to

   her interest in privacy, harm to her interest in security, impairment of the quality of life,

   embarrassment, personal humiliation, mental anguish and suffering, physical suffering,

   loss of income, and impairment to the Plaintiff’s reputation and is entitled to appropriate

   actual and compensatory damages.

          450.   The actions of the Defendants were malicious and intentional and thus,

   Curtis is entitled to recover punitive damages.




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                                       CLAIM V
        (Unlawful Discrimination Based on Sex in Violation of the Colorado Anti-
                Discrimination Act (“CADA”, C.R.S. § 24-34-402, et seq.)

          451.   Plaintiff hereby incorporates and restates all allegations contained in

   Paragraphs 1 - 450 of this Complaint as though fully incorporated herein.

          452.   Plaintiff was an employee pursuant to Colorado Civil Rights Commission

   Rule 10.2(N)(4) since she was subject to the company’s direction and control.

          453.   Lever Up and Pakems are employers pursuant to CADA.

          454.   CADA prohibits discrimination based on sex.

          455.   Pine’s and van Woudenberg’s conduct includes, but is not limited to, Pine

   frequently stating that Curtis was not fit to be a CEO, frequent threats and demands that

   Curtis should be fired, Pine lied to Curtis and about her, Pine taunted Curtis with

   statements regarding the fact he was actually watching her and listening to her through

   her computer, Pine used profanity towards Curtis, Pine threatened Curtis about

   complaining about him to van Woudenberg, Pine sabotaged Curtis’ work, Pine yelled and

   screamed at Curtis that she was on thin ice, Pine yelled and screamed at Curtis that she

   needed to watch her back which was a physical threat meant to intimidate her, Pine told

   Curtis to stop playing stupid, Pine told Curtis that she was just one of those girls that lies

   in bad at night and makes things up, van Woudenberg constantly telling Curtis that Pine

   wanted her to fail, van Woudenberg constantly telling Curtis that he was going to meet

   with Pine after their meetings, van Woudenberg demanded that Curtis spend her time

   finding a new partner because of Pine’s treatment of her, and van Woudenberg and/or

   Pine directing another Defendant to add the nickname “Stupid” in her contact in her

   personal Gmail account.




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           456.    Upon information and belief, van Woudenberg is an investor in four (4)

    companies.

           457.    Upon information and belief, Defendants did not spy on any of the male

    CEOs of the other four (4) companies, watch them in their bedrooms or listen to all of

    their conversations they had in their personal residences.

           458.    Based on the above-described acts, practices and omissions, the

    Defendants Lever Up and Pakems engaged in unlawful discrimination under CADA based

    on Plaintiff’s sex (female).

           459.    Defendants Lever Up and Pakems willful and intentional actions against

    Curtis, because of her gender, were frequently severe, pervasive, and physically

    threatening and altered the terms and conditions of Curtis’ employment, unreasonably

    interfered with her work performance and created an abusive and hostile working

    environment.

           460.    Defendants Lever Up and Pakems conduct was sufficiently severe and

    pervasive that a reasonable person in Curtis’ position would find the work environment to

    be hostile and abusive.

           461.    At the time of the above described conduct, and as a result of such conduct,

    Curtis believed that her work environment was hostile and abusive.

           462.    Van Woudenberg was witness to the abusive behavior and Curtis

    complained to van Woudenberg about Pine and he failed to take prompt, remedial action

    to stop the conduct.

           463.    Curtis was treated different than all other males which was noted by Beiers

    when she stated that Pine’s conduct towards Curtis was bizarre, van Woudenberg stated




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    that he had never seen him treat anyone the way he was treating her, Ms. Miles stating

    that Pine’s behavior towards Curtis was abusive, and Ms. Childers’ statement that Pine’s

    abusive behavior towards her was so alarming that he appeared to be unstable.

           464.   Curtis suffered adverse employment actions.

           465.   Lever Up and Pakems conduct amounts to actionable discrimination by not

    only subjecting her to sufficiently severe or pervasive harassment based on her sex, but

    also failing to act to end the harassment.

           466.   Pine’s conduct amounts to actionable sexual harassment in violation of

    CADA.

           467.   Curtis was treated differently than other similarly situated males in that other

    males were not subject to the abusive conduct and she was replaced by a male that

    negatively impacted the financial condition of the company, failed to grow the business,

    and failed to obtain potential sales opportunities and was not terminated.

           468.   In unlawfully discriminating against Curtis, Defendants Lever Up and

    Pakems acted willfully, wantonly and/or with malice or with conscious and/or reckless

    indifference to her equal rights under the law, thereby necessitating the imposition of

    exemplary damages.

           469.   As a direct and proximate result of Defendants Lever Up and Pakems

    action, Curtis has suffered damages, including lost wages and benefits, severe and

    permanent emotional and physical pain and suffering, hospital expenses, and

    embarrassment and she is entitled to general and special damages, and economic

    damages including front and back pay. Curtis is also entitled to and seeks her attorneys’

    fees and costs as permitted by law.




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                                           CLAIM VI
           (Aiding & Abetting a Sexually Hostile Work Environment in Violation of the
                  Colorado Anti-Discrimination Act, C.R.S. § 24-34-401, et seq.)

             470.   Plaintiff hereby incorporates and restates all allegations contained in

    Paragraphs 1 - 469 of this Complaint as though fully incorporated herein.

             471.   Defendant Pine engaged in acts defined by CADA to be a discriminatory or

    unfair employment practices, specifically, a sexually hostile work environment.

             472.   Defendant van Woudenberg aided, abetted, incited, or compelled

    Defendant Pine to engage in those acts by failing to prevent or correct the sexually hostile

    work environment.

             473.   Defendants Jordan Pine, Beiers, and Everson aided, abetted, incited, or

    compelled Defendant Pine to create a hostile work environment by providing passwords,

    access to her computer and personal accounts, including watching her and listening to

    her.

             474.   Because Defendants van Woudenberg, Jordan Pine, Beiers and Everson

    aided, abetted, incited, or compelled Defendant Pine to engage in acts defined by CADA

    to be a discriminatory or unfair employment practices, Curtis suffered damages.



                                       CLAIM VII
      (Unlawful Discrimination Based on Disability in Violation of the Colorado Anti-
                Discrimination Act (“CADA”), C.R.S. § 24-34-402, et seq.)

             475.   Plaintiff hereby incorporates and restates all allegations contained in

    Paragraphs 1 - 474 of this Complaint as though fully incorporated herein.

             476.   Plaintiff was regarded as having a mental disability that substantially limited

    one or more major life activities.

             477.   Plaintiff was qualified for her position.


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           478.   On June 4, 2019, Plaintiff told van Woudenberg and Matthews that she had

    been in the hospital because she was having heart attack symptoms that were caused

    by stress. This was prior to a meeting regarding finding a new investor.

           479.   Shortly thereafter, Curtis was told by van Woudenberg that “it was in the

    company’s best interest to terminate her employment because of her health issues.”

           480.   Curtis was terminated because of her disability or perceived disability.

           481.   On several occasions, Curtis asked for an accommodation in the form of

    asking permission to engage experienced individuals to offer advice, guidance and

    assistance.

           482.   Curtis’ accommodation requests were denied.

           483.   The above set forth conduct amounts to unlawful disability discrimination in

    violation of CADA.

           484.   As a direct and proximate result of Defendants Lever Up and Pakems

    actions, Curtis suffered damages.



                                          CLAIM VIII
     (Retaliation in Violation of the Colorado Anti-Discrimination Act, C.R.S. § 24-34-
                                         401, et seq.)

           485.   Plaintiff hereby incorporates and restates all allegations contained in

    Paragraphs 1 - 484 of this Complaint as though fully incorporated herein.

           486.   Curtis was threatened that if she complained to van Woudenberg about

    Pine’s behavior towards her it wouldn’t end well for her just like the last person that had

    complained about his conduct.




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          487.   Plaintiff engaged in statutorily protected activity when she opposed and

    reported the unlawful and discriminatory practices under CADA by complaining about the

    hostile work environment to van Woudenberg.

          488.   Defendants van Woudenberg and Pine subjected Curtis to less favorable

    terms, conditions and privileges of employment immediately after she complained of the

    harassment, she was told she needed to now spend her time finding a new more suitable

    partner and she was subjected to further abusive conduct.

          489.   Defendants van Woudenberg and Pine unlawfully retaliated against Curtis

    in the terms and conditions of her employment and subjected her to further harassment

    because she engaged in the above-described statutorily-protected activities.

          490.   Defendants van Woudenberg, Pine and Matthews retaliated against Curtis

    when they ultimately terminated her employment.

          491.   As a direct and proximate result of Defendants van Woudenberg’s,

    Matthew’s and Pine’s actions, Curtis has suffered damages.

          492.   In unlawfully discriminating and retaliating against Curtis, Defendants Pine,

    van Woudenberg and Matthews acted willfully, wantonly, and/or with malice or with

    conscious and/or reckless indifference to Curtis’ equal rights under law, thereby

    necessitating the imposition of exemplary damages.



                                         CLAIM IX
                         (Termination in Violation of Public Policy)

          493.   Plaintiff hereby incorporates and restates all allegations contained in

    Paragraphs 1 - 492 of this Complaint as though fully incorporated herein.




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           494.    Van Woudenberg directed Curtis to give up on trying to make sure that the

    2018 taxes that were filed were correct stating that the small adjustments resulting from

    an expensive and time-consuming effort are just not worth it and are a major distraction

    from her sales efforts.

           495.    The direction to give up on trying to ensure that the 2018 taxes that were

    filed prohibited Curtis from performing a public duty or exercising an important job-related

    right or privilege.

           496.    The direction undermined a clearly expressed public policy of the

    professional ethics code that applied to her as a licensed attorney in the state of Colorado

    and her fiduciary duty to the company as the CEO of Pakems and the right or privilege

    as an employee.

           497.    The ethical obligation of not filing a false tax return is designed to serve the

    interests of the public.

           498.    Curtis pushed to hire another accountant to review the financial information

    that Pine gave her that Curtis knew was incorrect and was mistakenly accused of hiring

    her own accountant to investigate the taxes that were filed because of the information

    Pine relayed to van Woudenberg from an email message sent to Curtis’ accountant from

    Curtis’ personal email account..

           499.    One of the reasons Curtis was terminated was as a result of exercising the

    privilege of ensuring the tax returns filed were not false which she was entitled to do as

    an employee of Pakems and Lever Up.




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           500.   Curtis believed that directing her to give up on trying to ensure that the taxes

    filed were correct was against her ethical obligations as an attorney and fiduciary duty as

    a CEO.

           501.   Van Woudenberg, Pine, and Matthews were aware or reasonably should

    have been aware that Curtis’ refusal to comply with the directive was based on her

    reasonable belief that the directive was contrary to a clearly expressed duty as an attorney

    and CEO and violative of Curtis’ legal right or privilege as an employee.

           502.   As a proximate cause of Defendant van Woudenberg’s, Pine’s and

    Matthews’ actions, Curtis suffered damages, including her salary and benefits, damages

    for emotional distress, physical pain and suffering, and punitive damages.



                                           CLAIM X
                                     (Outrageous Conduct)

           503.   Plaintiff hereby incorporates and restates all allegations contained in

    Paragraphs 1 - 502 of this Complaint as though fully incorporated herein.

           504.   Defendants knowingly and intentionally engaged in extreme and

    outrageous conduct and/or they intended to cause severe mental suffering.

           505.   The direct and proximate result of Defendants’ actions caused Plaintiff

    severe permanent emotional distress. Defendants knowingly and intentionally engaged

    in extreme and outrageous conduct, and a pattern of conduct in that the infliction of severe

    mental suffering was calculated or recklessly or callously inflicted. Defendants conspired

    to access her personal computers, access her personal Email Accounts, and access her

    Personal Accounts.




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           506.   Defendants, after Curtis was fired, continued accessing her personal

    computer, accessing her personal Email Accounts and attempted to access her personal

    email and personal accounts, and video her so that they could watch her and listen to her

    in her own residence, all of which invaded her most private secrets.

           507.   Defendants knowingly and intentionally engaged in extreme and

    outrageous conduct, and a pattern of conduct in that the infliction of severe mental

    suffering was calculated or recklessly or callously inflicted.

           508.   Defendants subjected Curtis to an extremely hostile and abusive working

    environment, discriminated against her, and made the decision to fire her as the founder

    of the company and someone who had all of her money tied up in the success of the

    company.

           509.   The above listed behavior is so outrageous in character, and so extreme in

    degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious,

    and utterly intolerable in a civilized community.

           510.   As a direct and proximate result of the above-stated extreme and

    outrageous conduct of Defendants van Woudenberg, Pine, Matthews, Everson, Beiers,

    Jordan Pine, and John Does 1 – 10, Plaintiff has suffered and continues to suffer

    damages, injuries, and losses, including but not limited to, severe and permanent

    psychological injury, including, but not limited to, emotional distress, mental anguish, pain

    and suffering, intimidation, humiliation, extreme anger and helplessness about stopping

    the violations into her private life that have continued for at least eight (8) months after

    her termination.




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             511.   Plaintiff is entitled to compensatory and punitive damages for the significant

    emotional harm caused.



                                            CLAIM XI
                                    (Breach of Duty of Loyalty)

             512.   Plaintiff hereby incorporates and restates all allegations contained in

    Paragraphs 1 - 511 of this Complaint as though fully incorporated herein.

             513.   Defendant van Woudenberg, as a majority shareholder and director of

    Lever Up, owed a duty of loyalty to the minority shareholder and employee Curtis to act

    solely for the benefit of the company.

             514.   As the director of Lever Up, Matthews owed the minority shareholder and

    employee Curtis a duty of loyalty to act solely for the benefit of the company.

             515.   As the CEO, Secretary and Shareholder of Lever Up, Pine owed the

    minority shareholder and employee Curtis a duty of loyalty to act solely for the benefit of

    the company.

             516.   Defendants van Woudenberg, Matthews and Pine violated their duty of

    loyalty they owed to Plaintiff when they made the decision to engage in Computer-Related

    Conduct against Curtis, terminate Curtis, and replace her with Matthews on a part-time

    basis.

             517.   The Computer-Related Conduct against Curtis has subjected Lever Up and

    Pakems LLC to liability and caused Curtis to suffer damages, including damages for

    invasion of privacy and severe permanent emotional distress.

             518.   The termination of Curtis and the decision to replace her with Matthews

    resulted in guaranteed sales going away, significant revenue making opportunities to go



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    away, the financial health of the company has been severely negatively impacted while

    Matthews has been the CEO, there is a lack of potential opportunities because of

    Matthews’ failure to obtain those opportunities, and the opportunity to find a more suitable

    partner to take Pakems where it deserved to go went away. Currently it appears Pakems

    have shut their doors which is causing significant impact to the company and its value.

           519.   Plaintiff has suffered damages and will continue to sustain damages as a

    direct and proximate result of Defendants’ breach of their duty of loyalty in an amount to

    be proven at trial.

           520.   Defendants van Woudenberg, Matthews and Pine’s interference directly

    and proximately caused damages to Curtis in that her termination caused significant

    revenue making opportunities to go away, revenue has been severely negatively

    impacted while Matthews has been the CEO, there is a lack of potential opportunities

    because of Matthews’ failure to obtain those opportunities, upon information and belief

    the company is being liquidated which means Curtis will lose her approximately $1 million

    investment, and the present dismal company’s performance under Matthews’ control has

    impacted the ability to find a new more suitable partner.



                                          CLAIM XII
              (Intentional Interference with Prospective Business Advantage)

           521.   Plaintiff hereby incorporates and restates all allegations contained in

    Paragraphs 1 – 520 of this Complaint as though fully incorporated herein.

           522.   Curtis had business relationships, prospective business relationships or

    relationships with sales representatives that had very close relationships with Stepping

    Up Footwear, Uncharted Supply Company, L.L.Bean, Dick’s Sporting Goods, REI,



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    Dunham’s, Camping World, Vail Resorts, Alterra, Gorsuch, Steamboat Resort, Summit

    Sports, Gabe’s, a UK Distributor, and Sinner.

           523.      Defendants van Woudenberg, Matthews and Pine intentionally and

    improperly interfered with all of these business relations when they terminated Curtis.

           524.      Upon information and belief, one of the decisions to terminate Curtis was

    based on the fact the potential business relations would improve her sales numbers which

    would have prevented them from arguing her termination was because of the sales

    numbers.

           525.      Hamish Lorimer with Stepping Out Footwear was going to place an order

    the same day Curtis was terminated.

           526.      Curtis was terminated a mere four (4) days after she attended the Outdoor

    Retailer Trade Show where the purpose of the three (3) day trade show was to create

    potential business relations, which she accomplished, and a mere five (5) days before

    she was terminated she relayed to van Woudenberg and Matthews that the trade show

    was going well, she was finding many potential business opportunities, L.L.Bean loved

    the samples she had provided and wanted additional samples made using their particular

    plaid pattern.

           527.      Defendants van Woudenberg, Matthews and Pine’s interference caused

    these individuals and entities not to enter or continue the prospective business relations

    with Pakems.

           528.      Defendants van Woudenberg, Matthews and Pine’s interference directly

    and proximately caused damages to Curtis in that her termination caused significant

    revenue making opportunities to go away, revenue has been severely negatively




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    impacted while Matthews has been the CEO, there is a lack of potential opportunities

    because of Matthews’ failure to obtain those opportunities, upon information and belief

    the company is being liquidated which means Curtis will lose her approximately $1 million

    investment, and the present dismal company’s performance under Matthews’ control has

    impacted the ability to find a new more suitable partner.



                                           CLAIM XIII
                                          (Conspiracy)

           529.   Plaintiff hereby incorporates and restates all allegations contained in

    Paragraphs 1 - 528 of this Complaint as though fully incorporated herein.

           530.   Defendants conspired to accomplish an unlawful purpose or a lawful

    purpose by unlawful means. Defendants had a meeting of the minds in their course of

    action and one or all committed an unlawful, overt act to further the object or their course

    of action.

           531.   Specifically, Defendants Pine, van Woudenberg, Jordan Pine, Beiers,

    Everson and John Does 1-10 intentionally conspired and agreed by words or conduct to

    accomplish unlawfully accessing, obtaining, downloading, reviewing and/or monitoring

    her Personal Accounts, personal Email Accounts, and accessing Curtis’ personal

    computers. Further, there was an agreement to intercept wire, oral, or electronic

    communications. When Matthews became a Director of Pakems, he conspired with the

    other Defendants.

           532.   Further, Defendants Pine, van Woudenberg, and Matthews conspired to

    unlawfully terminate Curtis.




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          533.   As a result, Plaintiff suffered injuries, damages and losses as a proximate

    cause of such wrongful acts.



                                          CLAIM XIV
                    (Intentional Interference with Contractual Relations)

          534.   Plaintiff hereby incorporates and restates all allegations contained in

    Paragraphs 1 – 533 of this Complaint as though fully incorporated herein.

          535.   In emails dated January 8, 2019, January 13, 2019, February 18, 2019 and

    March 12, 2019, Pine voiced his opinion that he wanted Curtis to either resign or be fired.

          536.   Pine constantly stated to Curtis and van Woudenberg that he did not believe

    she was fit to be a CEO and demanded that she be fired.

          537.   Van Woudenberg frequently stated that Pine wanted her to fail.

          538.   Pine frequently would not assist Curtis with things she needed assistance

    with as the CEO of Pakems.

          539.   Van Woudenberg sent an email to Curtis agreeing that he would give her

    time to find a new more suitable partner. Pine was carbon copied on this email.

          540.   Pine frequently demanded that there be a time limit put on the agreement

    to give her time to find a new more suitable partner.

          541.   Plaintiff had an Employment Agreement with Lever Up signed by the parties

    on October 26, 2018.

          542.   Defendant Pine had knowledge of the contract, as he was a signatory to the

    contract on behalf of Lever Up.

          543.   Defendant Pine intentionally made it known that he wanted Curtis fired

    which induced van Woudenberg’s decision without true justification to terminate Curtis.



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           544.   Defendant Pine’s conduct improperly interfered with her Employment

    Agreement when that agreement was terminated.

           545.   Defendant Pine’s conduct improperly interfered with the agreement that

    Curtis was to be given time to find a new more suitable partner.

           546.   Defendant Pine’s conduct was the proximate cause of the damages

    suffered by Curtis.

           547.   Curtis is entitled to damages, including but not limited to lost benefits and

    wages, lost opportunity of future growth of Pakems if Curtis were able to find a new more

    suitable partner, potential to sell the company, lost profits, loss from negative impact to

    Pakems’ financial position, loss of investment in Pakems Inc., severe permanent

    emotional distress, and harm to her reputation.

           548.   Curtis is entitled to punitive damages as Pine’s conduct was outrageous.



                                         CLAIM XV
                               (Defamation (Libel and Slander))

           549.   Plaintiff hereby incorporates and restates all allegations contained in

    Paragraphs 1 - 548 of this Complaint as though fully incorporated herein.

           550.   On numerous occasions, both verbally and in writing, Pine stated to van

    Woudenberg that Curtis was not “fit” to be a CEO.

           551.   Pine stated to van Woudenberg and Matthews that there was a personality

    conflict between Curtis and Pine.

           552.   Pine stated to Matthews that he had a conflict with Curtis, she was

    performing badly, and she was not receptive to advice or criticism.




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           553.     Pine stated in an email to Curtis and van Woudenberg on February 18,

    2019, that, “Julie clearly doesn’t want to be accountable and has demonstrated it by not

    providing the requested information or by blaming others, obfuscating or deflecting.”

           554.     On March 12, 2019, Pine sent an email to van Woudenberg and Curtis

    stating, “Yesterday was most unpleasant which seems to be a recurring theme for Julie

    and me.”

           555.     All of the above statements were a written or spoken publications of a false

    assertion of fact made with knowledge of or reckless disregard for the falsity of the

    publications.

           556.     All of the above statements were published to third parties.

           557.     All of the above statements caused harm to Curtis’ reputation by prejudicing

    or lowering her in the estimation of van Woudenberg and Matthews.

           558.     All of the above statements are defamatory per se as they were meant to

    damage her business reputation.

           559.     All of the above statements caused injury, damage and prejudiced Curtis’

    business reputation.

           560.     That as a direct and proximate result of the defamatory statements made

    by Defendant Pine, Curtis has suffered injury to her reputation, suffered humiliation,

    emotional distress, mental anguish and suffering, caused her to need to find a more

    suitable partner, was impactful on the decision to terminate her employment, caused the

    approximately $1 million loss of her investment in Pakems, and loss of income.




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           561.   The defamatory statements that Defendant Pine made were intentional,

    with malice or with reckless disregard as whether they were false or not, thus the Plaintiff

    is entitled to punitive damages.



                                            CLAIM XVI
                                       (Promissory Estoppel)

           562.   Plaintiff hereby incorporates and restates all allegations contained in

    Paragraphs 1 - 561 of this Complaint as though fully incorporated herein.

           563.   Curtis asked van Woudenberg whether he wanted her to quit because she

    had made so many financial sacrifices to keep Pakems operational and was left penniless

    and she did not want to ever go through that again. He responded with a verbal promise

    that he would not just suddenly fire her one day and put her in the same financial position

    she had recently been in.

           564.   In an effort to further emphasize his promise that she would not suddenly

    be fired without a monetary payment, he stated that “if there’s no Julie, then there’s no

    Pakems because you [Julie] are Pakems.”

           565.   Van Woudenberg made a written promise that she be given the time to find

    a new more suitable partner.

           566.   Van Woudenberg should have reasonably expected that the promise that

    Curtis would not be suddenly terminated would induce her to continue her employment

    with Pakems and led her to believe that he would exercise the option to purchase her

    shares in the company for $450,000 if she was terminated.

           567.   Van Woudenberg should have reasonably expected that Curtis believed

    that she should spend her time finding a new partner and that she had the time to find a



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    new partner, especially in light of the fact Matthews, van Woudenberg and Curtis had a

    meeting a mere two (2) weeks with third-party about finding a new partner.

           568.    Curtis relied on the promise that she would not suddenly be fired and to her

    detriment, she was suddenly fired which left her in a compromised financial position

    because van Woudenberg did not exercise the option to purchase Curtis’ shares in the

    company.

           569.    Curtis relied on the promise that she had time to find a new more suitable

    partner and to her detriment she was fired which prevented her from being able to find a

    new partner.

           570.    Both of van Woudenberg’s promises should be enforced to prevent

    injustice.

           571.    Curtis’ damages include non-payment of $450,000, lost benefits and

    wages, lost opportunity of future growth of Pakems if Curtis were able to find a new more

    suitable partner, potential to sell the company, lost profits, loss from negative impact to

    Pakems’ financial position, loss of investment in Pakems Inc., and emotional distress.



                                        CLAIM XVII
                   (Breach of the Covenant of Good Faith and Fair Dealing)

           572.    Plaintiff hereby incorporates and restates all allegations contained in

    Paragraphs 1 - 571 of this Complaint as though fully incorporated herein.

           573.    Defendants Pine and van Woudenberg entered into a Stock Restriction

    Agreement with Curtis on October 26, 2018.

           574.    Curtis performed any and all obligations pursuant to the Stock Restriction

    Agreement.



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           575.   Pursuant to the Stock Restriction Agreement, Defendant van Woudenberg

    had discretion to terminate Curtis’ employment within a year of her anniversary date with

    the company and the option to purchase her shares in the company for $450,000.

           576.   Defendants Pine, van Woudenberg and Matthews failed to perform their

    obligation under the agreement.

           577.   Defendants Pine, van Woudenberg, and Matthew’s discretion was abused

    when they opted not to exercise the option which resulted in a breach of implied duty of

    good faith and fair dealing.

           578.   Curtis had the reasonable expectation that this option would be exercised if

    she was terminated within a year since this amount was tied to the hard dollar amount of

    her investment in the company.

           579.   Curtis also had the reasonable expectation that this option would be

    exercised because she never thought she would be forced to remain partners with

    individuals that made a decision to terminate her employment or with individuals that

    would violate numerous laws against her.

           580.   Curtis also had the reasonable expectation that this option would be

    exercised if she was terminated within a year since Pine refused her request during the

    negotiation of her employment to be given severance if she were to be terminated within

    a year.

           581.   Curtis also had the reasonable expectation that this option would be

    exercised if she was terminated within a year when she agreed to sell her company to

    Defendants and go from being a majority shareholder to a minority shareholder.




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           582.    Defendants van Woudenberg and Pine entered into the Stock Restriction

    Agreement in bad faith and Curtis was left to rely on the good faith of the party in control

    of exercising the option clause.

           583.    Curtis was damaged by the Defendants’ abuse of discretion in the amount

    of $450,000.

           584.    If Pine, van Woudenberg, and Matthews were not required to exercise the

    option in the Stock Restriction Agreement in good faith, then they would effectively

    receive the benefit of purchasing her company, no longer paying her salary, and avoid

    buying her shares in exchange for nothing. Further, it would render the Stock Restriction

    Agreement unfair and contrary to the parties’ intent of mutual benefit.



                                           CLAIM XVIII
                                       (Alter Ego Liability)

           585.    Plaintiff hereby incorporates and restates all allegations contained in

    Paragraphs 1 - 584 of this Complaint as though fully incorporated herein.

           586.    Lever Up is the parent of Pakems, is the sole member of Pakems, and was

    treated as one and the same company.

           587.    Employees of Chasefield referred to Pakems as a DBA (Doing Business

    As) of Lever Up.

           588.    Pine and van Woudenberg caused the incorporation of Lever Up.

           589.    Pine and van Woudenberg are the directors and officers for Chasefield

    Capital, Chasefield Real Estate, LLC, Pakems and Lever Up.

           590.    Funds were commingled between Chasefield Capital, Pakems, Lever Up

    and van Woudenberg.



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            591.    Pine paid invoices from the Lever Up and Pakems bank accounts that were

    not approved by van Woudenberg or Curtis, including paying himself for his services that

    well exceeded what had been approved.

            592.    Pine transferred funds from the Lever Up checking account into the

    Chasefield Capital checking account. When it was later determined by Curtis that the

    funds transferred into the Chasefield Capital checking account exceeded what was

    supposed to be transferred by over $9,000, Pine was not required to transfer $9,000 back

    to the Lever Up checking account.

            593.    Curtis was paid for her services by Chasefield Capital, then Lever Up, then

    Pakems.

            594.    Curtis could not take independent action unless it was approved by the

    board of Lever Up.

            595.    Pine and van Woudenberg failed to keep corporate minutes.

            596.    Chasefield Capital purchased and owned the Pakems’ inventory.

            597.    Chasefield Real Estate, LLC was formed on July 12, 2019, after Curtis

    notified Defendants to preserve evidence because she would be filing an action. Upon

    information and belief, this company is being used to transfer assets of Chasefield

    Capital. As such, Chasefield Real Estate, LLC is liable for any debts, obligations, acts,

    and liabilities of Chasefield Capital, Lever Up, and Pakems.

            598.    The Computer-Related Conduct was done at the direction of a Chasefield

    Capital employee(s) and accomplished by Chasefield Capital employees, the ability to

    remotely access Curtis’ computer was software that was within a software package

    owned      by     Chasefield     Capital   called    chasefieldcapitalmainoffice.4.0.4889-




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    installer(1).pkg@base.pkg, TeamViewer was installed on Curtis’ computer by a

    Chasefield Capital IT contractor and the downloading of TeamViewer allowed Chasefield

    Capital to secretly spy on Curtis in various ways, a Chasefield Capital employee(s)

    monitored her email and accessed her Personal Accounts and Email Accounts, including

    during a time period when she was no longer an employee of Pakems and when Pine

    was no longer on the Board of Directors or an officer of Lever Up, and Chasefield Capital

    owned the accounts and equipment used to engage in the Computer-Related Conduct

    against Curtis.

           599.   The above-stated facts show there was a unity of interest and lack of

    respect given to the separate identity of the various entities such that the personalities

    and assets of Pakems, Lever Up, Chasefield Capital, Chasefield Real Estate, LLC, Pine

    and van Woudenberg are indistinct.

           600.   Pine, van Woudenberg, and Chasefield Capital are responsible for the

    corporate liability of Pakems and Lever Up because they committed the unlawful acts

    against Curtis, used their assets to commit the unlawful acts against Curtis, used its

    employees and agents to commit the unlawful acts against Curtis, and made the decision

    to commit the unlawful acts against Curtis.

           601.   The shareholders of the various entities disregarded treating Chasefield

    Capital, Pakems, and Lever Up as a separate entity such that adhering to the legal fiction

    of the corporation being a separate entity would result in fraud, promote injustice, or lead

    to an evasion of legal obligation.

           602.   A fair and equitable result will be achieved by disregarding the separate

    corporate entities.




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           603.   Chasefield Capital, Chasefield Real Estate, LLC, van Woudenberg and

    Pine are liable for any debts, obligations, acts and liabilities of Lever Up and Pakems.



                               VII.   DEMAND FOR JURY TRIAL

           Pursuant to Federal Rule of Civil Procedure 38, Plaintiff respectfully demands that

    the claims alleged herein be adjudicated in a trial by jury.



                                  VIII.   PRAYER FOR RELIEF

           WHEREFORE, Plaintiff Julie Adams Curtis respectfully requests this Court to enter

    judgment in her favor and against Defendants on all claims for relief asserted in this

    Complaint and Request for Jury Trial, and in addition, grant the following relief:

           1.     To enter judgment in favor of Plaintiff and against Defendants Lever Up Inc.,

    Pakems, LLC, Chasefield Capital Inc., Chasefield Real Estate, LLC, SCB Global Capital

    Management, LLC, Boccus Group LLC, Pine, van Woudenberg, Matthews, Pine, Beiers,

    Everson, and John Does 1 – 10, finding the acts of the Defendants Lever Up Inc.,

    Pakems, LLC, Chasefield Capital Inc., Chasefield Real Estate, LLC, SCB Global Capital

    Management, LLC, Boccus Group LLC, Pine, van Woudenberg, Matthews, Pine, Beiers,

    Everson, and John Does 1 – 10 constitute violations of the Stored Communications Act

    (18 U.S.C. § 2702 (a)), the Federal Wiretap Act (18 U.S.C. § 2511 and § 18 U.S.C. §

    2520), and the Computer Fraud and Abuse Act (18 U.S.C. § 1030).

           2.     To enter judgment in favor of Plaintiff and against Defendants Lever Up Inc.

    and Pakems, LLC finding the acts of the Defendants Lever Up Inc. and Pakems, LLC




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    constitute discrimination in violation of the Colorado Anti-Discrimination Act, Colo. Rev.

    Stat. § 24-34-401, et seq.

           3.     To enter judgment in favor of Plaintiff and against Defendants van

    Woudenberg, Pine, Jordan Pine, Beiers and Everson finding the acts of the Defendants

    van Woudenberg, Pine, Jordan Pine, Beiers and Everson constitute aiding & abetting a

    sexually hostile work environment in violation of the Colorado Anti-Discrimination Act,

    Colo. Rev. Stat. § 24-34-401, et seq.

           4.     To enter judgment in favor of Plaintiff and against Defendants van

    Woudenberg and Matthews finding the acts of the Defendants van Woudenberg and

    Matthews constitute unlawful disability discrimination in violation of the Colorado Anti-

    Discrimination Act, Colo. Rev. Stat. § 24-34-401, et seq.

           5.     To enter judgment in favor of Plaintiff and against Defendants van

    Woudenberg, Pine and Matthews finding the acts of the Defendants van Woudenberg,

    Pine and Matthews constitute unlawful retaliation in violation of the Colorado Anti-

    Discrimination Act, Colo. Rev. Stat. § 24-34-401, et seq., violation of public policy, breach

    of the duty of loyalty, intentional interference with prospective business relations, and

    breach of the covenant of good faith and fair dealing.

           6.     To enter judgment in favor of Plaintiff and against Defendants van

    Woudenberg, Pine, Matthews, Everson, Beiers, Jordan Pine, and John Does 1 – 10,

    finding the acts of Defendants van Woudenberg, Pine, Matthews, Everson, Beiers, Jordan

    Pine, and John Does 1 – 10 constitute invasion of privacy, conspiracy, and outrageous

    conduct.




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           7.      To enter judgment in favor of Plaintiff and against Defendant Pine finding

    the acts of Defendant Pine constitutes intentional interference with contractual relations

    and defamation.

           8.      To enter judgment in favor of Plaintiff and against Defendant van

    Woudenberg finding the acts of Defendant van Woudenberg constitutes promissory

    estoppel.

           9.      To enter judgment in favor of Plaintiff and against Defendants Chasefield

    Capital, Chasefield Real Estate, LLC, van Woudenberg and Pine, finding the acts of

    Defendants Chasefield Capital, Chasefield Real Estate, LLC, van Woudenberg and Pine

    constitute alter ego liability.

           10.     To award Plaintiff actual, statutory, and compensatory damages as a result

    of Defendants’ unlawful conduct.

           11.     To award Plaintiff punitive damages as a result of Defendants’ willful,

    intentional and malicious conduct and willful violation of CADA.

           12.     To award Plaintiff, the remedies of damages for back pay, restored benefits,

    actual monetary damages, loss of wages, salary, retirement contributions, out of pocket

    medical expenses, all loss of income, and all loss of monetary damages to which she is

    entitled, pursuant to a willful violation of CADA.

           13.     To award Plaintiff preliminary and permanent injunctive or other equitable

    relief as this Court deems necessary to protect Plaintiff’s interests and to prohibit

    Defendants from further engaging in the wrongful conduct of the nature alleged herein.

           14.     To award Plaintiff pre-judgement and post-judgement interest to the extent

    permitted under the law.




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           15.    In light of the threat to dissolve the Company, Defendants actions of selling

    corporate assets at a substantial discount, Plaintiff’s potential loss of her investment if the

    Company is dissolved instead of given to her or sold, Plaintiff seeks the appointment of a

    Receiver to manage the business and affairs of Pakems/Lever Up to prevent waste of

    corporate assets and to maximize the value of the Company through its continued

    operation until the resolution of the instant action.

           16.    To award Plaintiff emergency injunctive relief to stop Defendants from

    further unlawful misconduct and to preserve evidence which might otherwise be

    destroyed.

           17.    To award Plaintiff an award that the option clause in the Stock Restriction

    Agreement be exercised.

           18.    To award Plaintiff reasonable litigation expenses and attorneys’ fees.

           19.    To award Plaintiff such further relief as this Court deems just and proper.



                                            Respectfully Submitted,

    Dated: June 25, 2020                    s/ Christopher L. Limpus
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